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COZEN O'CONNOR

Attorneys for Plaintiffs

Michael J. Sommi, Esq. (MS-7910)
45 Broadway, 16" Floor

New York, New York 10006
(212) 509-9400

IN THE UNITED STATES DISTRICT COURT
POR THE SOUTHERN DISTRICT OF NEW YORK

IN RE TERRORIST ATTACK :
ON SEPTEMBER 11, 2001 CIVIL ACTION NO.: 03 MD 1570

FEDERAL INSURANCE COMPANY,
PACIFIC INDEMNITY COMPANY; A.
CHUBB CUSTOM INSURANCE CIVIL ACTION NO.: 03 CV 6978 |
COMPANY; CILUBB INDEMNITY

INSURANCE COMPANY; CHUBB

INSURANCE COMPANY OF CANADA;

CHUBB INSURANCE COMPANY OF

NEW JERSEY; GREAT NORTHERN FIRST AMENDED

INSURANCE COMPANY: VIGILANT : COMPLAINT

INSURANCE COMPANY; ZURICH

AMERICAN INSURANCT COMPANY;

AMERICAN GUARANTEE AND

LIABILIPY INSURANCE COMPANY, :

AMERICAN ZURICH INSURANCE : JURY TRIAL DEMANDED

COMPANY: ASSURANCE COMPANY :
OF AMERICA: COLONIAL AMERICAN
CASUALTY AND SURETY
INSURANCE COMPANY; FIDELITY
AND DEPOSIT COMPANY OF
MARYLAND; MARYLAND
CASUALTY COMPANY, NORTHERN
INSURANCE COMPANY OF NEW
YORK: STEADIAST INSURANCE
COMPANY, VALIANT INSURANCE
COMPANY; ONE BEACON
INSURANCE COMPANY; ONE
BEACON AMERICA INSURANCE
COMPANY: AMERICAN EMPLOYERS’
INSURANCE COMPANY, THE

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CAMDEN FIRE INSURANCE
ASSOCIATION; HOMELAND
INSURANCE COMPANY OF NEW
YORK; CRUM & FORSTER
INDEMNITY COMPANY; NORTI
RIVER INSURANCE COMPANY:
UNITED STATES FIRE INSURANCE
COMPANY: AMERICAN
ALTERNATIVE INSURANCE
CORPORATION; GREAT LAKES
REINSURANCE U.K. PLC; AND THE
PRINCETON EXCESS & SURPLUS
LINES INSURANCE COMPANY;
AMLIN UNDERWRITING, LTD.:

“HISCOX DEDICATED CORPORATE
MEMBER, LTD. 3ALLSTATE
INSURANCE COMPANY; BOSTON
OLD COLONY INSURANCE
COMPANY; CONTINENTAL
INSURANCE COMPANY,
COMMERCIAL INSURANCE
COMPANY OF NEWARK, NJ; CNA
CASUALTY OF CALIFORNIA;
CONTINENTAL INSURANCE
COMPANY OF NEW JERSEY:
FIDELITY AND CASUALTY
COMPANY OF NEW YORK; GLENS
FALLS INSURANCE COMPANY;
NATIONAL BEN FRANKLIN
INSURANCE COMPANY OF ILLINOIS:
SENECA INSURANCE COMPANY,
INC.

Plaintiffs
v.

AL QAIDA: EGYPTIAN ISLAMIC
JIHAD: ASBAT AL-ANSAR;: AL
GAMA’‘A AL-ISLAMIY YA; SALAPIST
GROUP FOR CALL AND COMBAT,
LASHKAR I JANGHVI: LASHKAR-E
TAY YIBA; JEMAAH ISLAMTYA
ORGANIZATION, HEZBOLLAH, ABU
SAYEF GROUP; ALGERIAN ARMED
ISLAMIC GROUP; HAMAS,

be

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PALESTINE ISLAMIC JITAD, THE
ISLAMIC REPUBLIC OF IRAN;
REPUBLIC OF IRAQ; THE REPUBLIC
OF THE SUDAN; SYRIAN ARAB
REPUBLIC; THE KINGDOM OF SAUDI
ARABIA; OSAMA BIN LADEN;
MUHAMMAD ATIF A/K/A SUBHI
SITTA A/K/A ABU HAFS AL-MASRI;
SAYF AL-ADL; SHAYKH SA’ID A/K/A
MUSTAFA MUHAMMAD ALIIMAD,
ABU HAFS THE MAURITANIAN A/K/A
MAHFOUZ OULD AL-WALID A/K/A
KHALID AL-SHANQITI; IBN AL-
SHAYKH AL-LIBI; ABU ZUBAYDAII
AIK/A ZAYN AL. ABIDIN
MUHAMMAD HUSAYN TARIQ: ABD
AL-HADI AL-IRAQI A/K/A ABU
ABDULLAH: AYMAN AL-ZAWAHIRI;
THIRWAT SALAH SHIHATA A/KSA
MUHAMMAD ALI, TARIQ ANWAR
AL-SAYYID AHMAD A/K/A FATT
AIK/A AMR AL-FAT IH; MUHAMMAD
SALAH A/K/A NASR FAHMI NASR
HASANAYN; MAKITITAB AL-
KHIDAMAT A/K/A AL-KHIFAF; AL-
ITIHAAD AL-ISLAMIYA (AIA);
ISLAMIC ARMY OF ADEN: WAFA
HUMANITARIAN ORGANIZATION;
AL-RASHID TRUST; MAMOUN
DARKAZANLI IMPORT-EXPORT
COMPANY: NURJAMAN RIDUAN
ISMUDDIN A/K/A HAMBALI:
MOHAMMED IQBAL
ABDURRAHMAN A/K/A/ ABU JIBRIL:
BENEVOLENCE INTERNATIONAL
FOUNDATION; BENEVOLENCE
INLERNATIONAL FUND: BOSANSKA
IDEALNA FUTURA; GLOBAL RELIEF
FOUNDATION A/K/A FOUNDATION
SECOURS MONDIAL: MOUNIR EL
MOTASSADTQ; RAMZI BINALSHIBI:
ZAKARYA ESSABAR; SAID BAHASJI,
TURKISTAN ISLAMIC MOVEMENT,
WACEL HAMZA JULAIDAN A/K/A AL-
HASAN AL MADANI; ADEL BEN
SOLTANL: NABIL BENATTIA:

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YASSINE CHEKKOURIT, RIADH
JELASSI MENDI KAMMOUN; SAMIR
KISHK; TAREK BEN HABIB
MAAROUF!: ABDELHALIM
REMADNA; MANSOUR THAER:
LAZHAR BEN MOHAMMED TLILI,
HABIB WADDANI, AKIDA BANK
PRIVATE LIMITED; AKIDA
INVESTMENT CO. LTD.; NASREDDIN
GROUP INTERNATIONAL FIOLDING
LTD.;: NASCO NASREDDIN HOLDING
A.S.. NASCOTEX $.A.: NASREDDIN
FOUNDATION; BA TAQWA FOR
COMMERCE AND REAL ESTATE
COMPANY LTD.; MIGA —
MALAYSIAN SWISS, GULF AND
AFRICAN CHAMBER; GULF CENTER
S.R.L.. NASCOSERVICE S.R.L.;: NASCO
BUSINESS RESIDENCE CENTER SAS
DI NASREDDIN AHMED IDRIS EC;
NASREDDIN COMPANY NASCO SAS
DI AIMED IDRIS NASSNEDDIN EC;
NADA INTERNATIONAL ANSTALT;
NASREDDIN INTERNA TIONAT.
GROUP LIMITED HOLDING; THE AID
ORGANIZATION OF THE ULEMA;
AHMED IDRIS NASREDDIN; YOUSSEF
NADA, ABDELKADIR MAHMOUD ES
SAYED: KHALID AL-FAWAZ,; ABU
HAMZA AL-MASRI; MOHAMED BEN
BELGACEM AOQUADI, MOKTITAR
BOUGHOUGHA: TAREK CHARAABI;
SAMI BEN KHEMAIS ESSID; LASED
BEN HENI; SOMALIA BRANCIEOF
THE AL-HARAMAIN ISLAMIC
FOUNDATION: BOSNIA-
HERZEGOVINA BRANCIT OF AL-
HARAMAIN ISLAMIC FOUNDATION:
UMMA TAMEER-E-NAU (UTN);
BASHTR-UD-DIN MAHMOOD: ABDUL
MAJEED; 8.M. TUFAIL; AL-
BARAKAAT; AL TAQWA/NADA
GROUP; AARAN MONEY WIRE
SERVICE, INC.. AL BARAKA
EXCHANGE LLC; AL BARAKAAT
BANK, AL-BARAKAT BANK GF
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SOMALIA (BSS); AL-BARAKAT
FINANCE GROUP; AL-BARAKAT
FINANCIAL HOLDING CO.; AL-
BARAKAT GLOBAL
TELECOMMUNICATIONS; AL-
BARAKAT GROUP OF COMPANIES
SOMALIA LIMITED; AL-BARAKAT
INTERNATIONAL. A/K/A BARACO CO:
AL-BARAKAT INVESTMENTS: AL-
BARAKAT WIRING SERVICE, AL.
TAQWA TRADE, PROPERTY AND
INDUSTRY COMPANY LIMITED;
ASAT TRUST; BANK AL TAQWA
LIMIT!}:D; BARAKA TRADING
COMPANY: BARAKAAT BOSTON;
BARAKAAT CONSTRUCTION
COMPANY; BARAKAAT
ENTERPRISE; BARAKAAT GROUP OF
COMPANIES, BARAKAAT
INTERNATIONAL; BARAKAAT
INTERNATIONAL FOUNDATION;
BARAKAAT INTERNATIONAL, INC.:
BARAKAAT NORTH AMERICA, INC.:
BARAKAAT RED SEA
TELECOMMUNICATIONS:
BARAKAAT TELECOMMUNICATIONS
CO, SOMALIA: BARAKAT BANK AND
REMITTANCES: BARAKAT
COMPUTER CONSULTING (BCC);
BARAKAT CONSULTING GROUP
(BCG); BARAKAT GLOBAL.
TELEPHONE COMPANY; BARAKAT
INTERNATIONAL COMPANIES
(BICO), BARAKAT POST EXPRESS
(BPE): BARAKAT REFRESHMENT
COMPANY: BARAKAT WIRE
TRANSFER COMPANY; BARAKAT
TEEE COMMUNICATIONS COMPANY
LIMITED (BTELCO); BARAKO
TRADING COMPANY, LLC; GLOBAL
SERVICES INTERNATIONAL;
HEYATUL ULYA: NADA
MANAGEMENT ORGANIZATION;
PARKA TRADING COMPANY: RED
SEA BARAKAT COMPANY LIMITED:
SOMALIA INTERNATIONAL RELIEF

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ORGANIZATION; SOMALIA
INTERNET COMPANY; SOMALIA
NETWORK AB: YOUSSEF M. NADA &
CO. GESELLSCHAFT MBH: YOUSSEF
M. NADA; HUSSEIN MAHMUD
ABDULLKADIR; ABDIRASIK ADEN:
ABBAS ABDI ALI: ABDI ADULAZIZ
ALI, YUSAF AHMED ALI; DAHIR
UBEIDULLAHI AWEYS: I[ASSAN
DAHIR AWEYS; GARAD JAMA; ALI
GHALEB HIMMAT: ALBERT
FREDRICH ARMAND HUBER: LIBAN
HUSSEIN; AIIMED NUR ALI JIM’ALE.
ABDULLAHI HUSSEIN KAHIP;
MOIAMMLED MANSOUR: ZEINAB
MANSOUR-FATTAH; ABDULLAIL
AHMED ABDULLAH A/K/A ABU
MARIAM A/K/A ABU MOHAMED AL-
MASRI A/K/A SALEM: HAJ ABDUL
MANAN AGHA A/K/A ABD AL-
MAN’AM SATYID: AL-HAMATI
SWELTS BAKERIES: MULLAMMAD
AL-HAMATI A/K/A MOLLAMMAD
HAMDI SADIQ AL-AHDAL A/K/A ABU
ASIM AL-MAKKI: AMIN AL-HAQ
A/K/A DR. AMIN AH HLAQ A/K/A
MUHAMMAD AMIN A/K/A DR. AMIN
UL-HAQ; SAQAR AL-SADAWI;
AHMAD SA‘ID AL-KADR A/K/A ABU
ABD AL-RAHMAN AL-KANADI:
ANAS AL-LIBY A/K/A ANAS AL-LIBI
A/K/A NAZIM AL-RAGHIE A/K/A
NAZIH ABDUL HAMED AL-RAGHIE
AIK/A ANAS AL-SABAIL AHMAD
IBRAHIM AL- MUGHASSIL A/K/A
ABU OMRAN A/K/A AHMED
IBRAHIM AL-MUGHASSIL:
ABDELKARIM HUSSEIN MOHAMED
AL-NASSER: AL-NUR HONEY PRESS
SHOPS A/K/A AL-NUR HONEY
CENTER: YASIN AL-QADI A/K/A
SHAYKH YASSIN ABDULLAH KAD!
AIK/A YASIN KANDI SA‘D AL-
SHARIF: AL-SHIFA’ HONEY PRESS
FOR INDUSTRY ANID COMMERCE:
IBRAHIM SALIH MOHAMMED AL-

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YACOUB; AHMED MOHAMMED
HAMED ALT A/K/A AHMED
MOHAMMED ABDUREHMAN A/K/A
ABU FATIMA A/K/A ABU ISLAM
A/K/A ABU KHADIIJAH A/K/A
AHMED HAMED A/K/A AHMED THE
EGYPTIAN A/K/A AHMED AIMED
A/K/A AHAMAD AL-MASRI A/K/A
ABU ISLAM AL-SURIR A/K/A AHMED
MOMTAMMED ALI A/K/A HAMED ALI]
A/K/A AHMED HEMEFD A/K/A AHMED
SHIEB A/K/A SHUAIB:; ALT ATWA
A/K/A AMMAR MANSOUR BOUSLIM
A/K/A HASSAN ROSTOM SALIM;
MUHSIN MUSA MATWALLI ATWAH
A/K/A ABDEL RAHMAN A/K/A
ABDUL RAHMAN A/K/A ABDUL
RAHMAN AL-MUHAJIR A/K/A
MOHAMMED K.A, AL-NAMER:;: BILAL
BIN MARWAN; AYADI CHAFIO BIN
MUHAMMAD A/K/A BEN
MULAMMAD AIADI A/K/A BEN
MUHAMMAD AIADY A/K/A BEN
MUHAMMAD AYADI CHAFIK A/K/A
BEN MUHAMMAD AYADI SHAFIQ;
MAMOUN DARKAZANLI,; ALI SAED
BIN ALI EL-HOORIE A/K/A ALI SAED
BIN ALT AL-HOURE A/K/A ALI SAED
BIN ALLEL-HOURI; MUSTAPA
MOHAMED FADHIL A/K/A ABD AL
WAKIL AL MASRI A/K/A ABU AL-
NUBI A/K/A HASSAN ALI A/K/A ABU
ANIS A/K/A MOUSTAFA ALI ELBISHY
AIK/A MUSTAPA MUIAMAD FADIL
A/K/A MUSTAFA FAZUL A/K/A
HUSSEIN A/K/A ABU JIHAD A/K/A
KHALID A/K/A NU MAN A/K/A
MUSTAFA MOMAMMED A/K/A ABU
YUSSRR; AHMED KHALFAN
GHAILANI A/K/A AHMED THLE
TANZANIAN A/K/A FOOPTE A/K/A
FUP] A/K/A ABU BAKR AHMAD A/K/A
A, AHMED A/K/A ABUBAKAR
AHRMED A/K/A ABUBAKAR K,
AIIMED A/K/A ABUBAKAR KHALFAN
ATIMED A/K/A ABU BAKARY K.

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AHMED A/K/A AHMED KITALFAN
AHMED A/K/A AHMAD AL TANZANI
A/K/A AIMED KHALFAN ALI A/K/A
ABU BAKR A/K/A ABUBAKARY
KHALFAN AHMED GILAILANI A/K/A
AMMED GHAILANI A/K/A AHIMAD
KHALAFAN GHILANI A/K/A
MAHAFUDH ABUBAKAR AHMED
ABDALLAH HUSSEIN A/K/A ABU
KHABAR A/K/A ALIMED KHALFAN
A/K/A SHARIFF OMAR MOHAMMED;
RIAD HUWAZI A/K/A ABU-AHMAD AL-
AMRIKI A/K/A ABU-AITIMAD AL-
HAWEN A/K/A RASHID AL-
MAGHRIBI A/K/A ABU-AHMAD AL-
SIIATID A/INM/A M RAED FHJAZI:
HASAN 177-AL-DIN A/K/A ATIMED
GARBAYA A/K/A SA-ID A/K/A SAMIR
SALWWAN, JAISH-I-MOHAMMED
A/K/A ARMY OF MOHAMMED:
JAM*YAH TA*AWUN AL-ISLAMIA
A/K/A JAMCIYAT AL TACAWUN AL
ISLAMIYYA A/K/A JIT A/K/A
SOCIETY OF ISLAMIC
COOPERATION; MUFTIT RASHID
AHMAD LADEITYANOY A/K/A MUFT!
RASHEED AHMA A/K/A MUFTI
RASHID AHMAD LUDHIANVI A/K/A
MUFTI RASHID AHMAD
WADEHYANOY: FAZUL ABDULLAH
MORAMMED ASK/A FAZUL
ABDALLA A/K/A FAZUL ADBALLAH
A/K/A ABU AISHA A/K/A ABU SEIP
AL. SUDANI A/K/A FADEL,
ABDALLAH MOHAMMED ALI A/K/A
ABDALLA FAZUL A/K/A ABDALLAH
PAZUL A/K/A ABDALLAII
MOHAMMED FAZUL A/K/A TTAROON
FAZUL A/K/A HARUN FAZUL A/K/A
HAROON A/K/A FADHIL HAROUN
AMK/A HARUN A/K/A ABU LUQMAN
AIK/A FAZUL MOWAMMED A/K/A
PAZUL ABDILAHI MOMAMMUELD
A/K/A FOUAD MOHAMMED A/K/A
FADIL ABDALLAH MUHAMAD:
KHALID SHATKH MOHAMMED A/K/A
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SALEM ALI A/K/A FAHD BIN
ABDALLAH BIN KHALID A/K/A
ASHRAF REFAAT NABITH HENIN
AIK/A KHALID ADBUL WADOOD:
PFAHID MOHAMMED ALLY MSALAM
A/K/A USAMA AL-KINI A/K/A FAIIID
MOHAMMED ALLY A/K/A FAHAD
ALLY MSALAM A/K/A FAHID
MOHAMMED ALI MSALAM A/K/A
MOHAMMED ALLY MSALAM A/K/A
PATHD MOHAMMED ALI MUSALAAM
A/K/A FAHID MUHAMAD ALI SALEM;
RABITATRUST; ANSAR AL-ISLAM
(Al) A/K/A JUND AL-ISLAM; YOUSSEF
ABDAOUI A/K/A ABU ABDULLAH
A/K/A ABDIELLAI] A/K/A ABDULLAIL
MOHAMMED AMINE AKLI A/K/A
SAMIR A/K/A KALI] SAMI A/K/A
ELIAS; MOMREZ AMDOUNI A/K/A
FABIO FUSCO A/K/A MOHAMMED
HASSAN A/K/A TUALE ABU: CHIHEB
BEN MOHAMED AYARI A/K/A ABU
HOHEM HICHEM: MONDITER
BAAZAOUIL A/K/A TIAMZA; LIONEL
DUMONT A/K/A BILAL A/K/A HAMZA
A/K/A JACQUES BROUGERE:
MOUSSA BEN AMOR ESSAADI A/K/A
DAH DAH A/K/A ABDELRATIMMAN
A/K/A BECHIR:; RACHID FEHAR A/K/A
AMINEDEL BELGIO A/K/A DJAFFAR:
BRAHIM BEN HEDILT HAMAMI:
KHALIL JARRAYA A/K/A KHALIL
YARRAYA A/K/A AZIZ BEN NARVAN
ABDEL’ AfK/A AMRO AfKAA OMAR
A/K/A AMROU A/K/A AMR: MOUNIR
BEN HABIB JERRAYA A/K/A
YARRAYA; FOUZT JENDOUBI A/K/A
SAID A/K/A SAMIR; FETHI BEN
REBAI MASRI A/K/A AMOR A/K/A
OMAR ABU A/K/A FETHI ALIC; NAJIB
OQUAZ; AHMED HASNI RARRBO
A/K/A ABDALLAII A/K/A ABDULLAH:
NEDAT. SALEH A/K/A HITEM:
ABDELGHANI MZOUDL GULBUDDIN
HEKMATYAR; IMAD MUGHNIYELL
MUHAMMAD OMAR, ISLAMIC
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INTERNATIONAL BRIGADE; SPECIAL
PURPOSE ISLAMIC REGIMENT;
RIYADUS-SALIKHIN RECOGNIZANCE
AND SABOTAGE BATTALION OL
CHECHEN MARTYRS; PRINCESS
HAIFA AL-FAISAL; PRINCE BANDAR
BIN SULTAN BIN ABDULAZIZ AL
SAUD: OSAMA BASSNAN; OMAR AL-
BAYOUMI; FAHAD AL-THUMAIRY;,
WORLD ASSEMBLY OF MUSLIM
YOUTH, SHEIKH AHMED SALIM
SWEDAN: MUHAMMAD ABU-ISLAM:
ABDULLATI *QASSIM, ELASELHM
ABDULRAFHMAN; JAMAL AL-
BADAWI, MOHAMMED OMAR AL-
HARAZI, WALID AL-SOLROURI:
FATHA ADBUL RATIMAN; YASSER
AL-AZZANI; JAMAL BA KITORSH:
AHMAD AL-SHINNE JAMIL QASIM
SAEED; ABU ABDUT. RAHMAN:
MOHAMED BAYAZID; ABU MUSAB
ZARQAWI, SHEIKH OMAR BAKRI
MUHAMMAD; ABDUL FATTAH
ZAMMAR; GHASOUB AL ABRASII
GHALYOUN A/K/A ABU MUSAB;
BENSAYAH BELKACEM; SABIR
LAMAR; WADITTEL-HAGE; WALI
KHAN AMIN SHAH: ZACARIAS
MOUSSAOUI; THE TALIBAN:
MAULVI ABDUL KABIR:; JALIL
SHINWART; NOOR JALIL: ABDLEL
HUSSEIN: ADU AGAB; NATIONAL
ISLAMIC FRONT, HASSAN TURABI;
ISS EL-DIN EL SAYED: LASHKAR
REDAYAN-E-ISLAMI: AITTMAD SAL.AII
A/K/A SALIM; ABD AL.-MUSHIN AL-
LIBI; ABDUL RAHMAN KHALED BIN
MAHFOU?Z; ABDUL RATIMAN YASIN:
ABDULLA AL OBAID: ABDULA BIN
LADEN; ADVICE AND
REFORMATION COMMITTEE:
APGHAN SUPPORT COMMITTEE; AL
KHALEENA POR EXPORT
PROMOTION AND MARKETING
COMPANY: AL-HARAMAIN A/K/A
AL-HARAMAIN FOUNDATION:
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ENAAM M. ARNANOUT:
INTERNATIONAL DEVELOPMENT
FOUNDATION; INTERNATIONAL
ISLAMIC RELIEF ORGANIZATION,
INTERNATIONAL INSTITUTE OF
ISLAMIC THOUGHT, ISLAMIC
CULTURAL INSTITUTE OF MILAN:
JAMAL BARZINJI: KHALED BIN
MAHFOUZ, MOHAMMED JAMAL
KUALIFA, MOHAMMED SALIM BIN
MAHFOUZ; MUSLIM WORI.D
LEAGUE; NATIONAL COMMERCIAL
BANK, PRINCE NAYEF BIN
ABDULAZIZ AL SAUD; PRINCL
SULTAN BIN ABDULAZIZ AL SAUD;
RABIEH FTADDAIT, SAAR
FOUNDATION; SAUDI SUDANESE
BANK; AL SHAMAL ISLAMIC BANK;
SHLIKI ABU BDUL AZIZ NAGI,
SHEIK ADIL GALIL BATARGY A/K/A
ADEL ABDUL JALIL BATTERJEE:
SULEIMAN ABDEL AZIZ AL. RAJHI:
TABA INVESTMENTS: TANZANITE
KING; ULEMA UNION OF
AFGHANISTAN: WADILAL AQIQ;
INFOCUS TECH OF MALAYSIA:
YAZID SUFAAT OF KUALA LUMPUR
MALAYSIA; AL-SHAYKI AL-IRAQI,
AZZAM SERVICE CENTER; ABU
HAJER AL IRAQI, MOHAMMED AL
FAISAL AL SAUD: AL-HURAH
CONSTRUCTION AND
DEVELOPMENT LIMITED; GUM
ARABIC COMPANY LIMITED: AL
SHAMAL FOR INVESTMENT AND
DEVELOPMENT, SALEEL ABDULLAH
KAMEL: AL BARAKA INVESTMENT
AND DEVELOPMENT; SAUDI
DALELAH AL BARAKA GROUP LLC;
ISLAMIC INVESTMENT COMPANY OF
THE GULF; DAR-AL-MAAL AL,
ISLAMI. AL-BIR SAUDI
ORGANIZATION: MOHAMMAD S.
MOHAMMAD; TADAMON ISLAMIC
BANK: MUSTASIM ABDEL-RAHIM:
NATIONAL FUND FOR SOCIAL
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INSURANCE; ABDUL-RAHIM
MOHAMMED HUSSEIN; AL AMN AL-
DAKHILI; AL AMN AL-KHARIJI; ABD
AL SAMAD AL-TA‘ISI]; MOHAMED
SADEEK ODE; ABDEL BARRY:
AHMAD SALAH A/K/A SALIM:
MAHDI CHAMRAN SAVEIII,
MOHAMMED SARKAWI; Al. TAWHID:
HAJTMOHAMAD AKRAM:
ABDALLAH OMAR; UMAR FARUQ,
ABD AL-RAHIM AL-NASHIRI:; TURKI
AL FAISAL AL SAUD A/K/A PRINCE
TURKE. PRINCE ABDULLAH AL
FAISAL BIN ABDULAZIZ AL SAUD
A/K/A PRINCE ABDULLAH; PRINCE
SALMAN BIN ABDUL AZIZ AL SAUD
A/K/A PRINCE SALMAN; ZOUAYDI
A/K/A MUHAMMED GALEB KALAJE
ZOAAYDI A/K/A ABU TALIA:
MULLAITKAKSIHAR: ABDULAZIZ
BIN ABDUL RAHMAN AL SAUD:
ARAPAT EL-ASAII; HAYDAR
MOHAMED BIN LADEN:
MOHAMMED BIN ABDULRAIIMAN
AL ARIEFY, FAISAL GROUP
HOLDING COMPANY: AL FAISALIAH
GROUP: BASTISIT HOSPITAL:
MUSHAYT FOR TRADING
ESTABLISHMENT; ABDULLAII BIN
ABDUL MUHSEN AL TURKI A/K/A Al,
TURKE; SAUDI HIGH COMMISSION
A/K/A THE SAUDI HIGH RELIEF
COMMISSION; ABDUL AZIZ AL
IBRAHIM A‘K/A AL. IBRATIIM: TAREK
AYOUB: AL ANWA; HELP AFRICAN
PEOPLE; IBRAHIM BIN ABDUL. AZIZ
AL IBRAHIM FOUNDATION: MERCY
INTERNATIONAL RELIEF AGENCY;
ISLAMIC MOVEMENT OF
UZBEKISTAN: SAUDI BIN LADEN
GROUP; BAKR M. BIN LADEN;
SALEM BIN LADEN; SALEH GAZAZ:;
MOHAMMLD BATIARETH;
ABDULLAH BIN SAID; MOTTAMMED
NUR RAHMI, TAREK M. BIN LADEN:
OMAR M. BIN LADEN: MOHAMMED
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BIN LADEN ORGANIZATION; SAUDI
BIN LADEN INTERNATIONAL,
COMPANY, YESLAM M. BIN LADEN;
GLOBAL DLAMOND RESOURCL:
HUMAN CONCERN INTERNATIONAL
SOCIETY; TALAT. MOHAMMLD
BADKOOK; DR. MOHAMAN ALI
ELGAREL NEW DLAMOND HOLDINGS:
M.M. BADKOOK COMPANY FOR
CATERING & TRADING, AL-
MUSTAQBAL GROUP: NATIONAL
MANAGEMENT CONSULTANCY
CENTER; AL-RAJNI BANKING &
INVESTMENT CORPORATION; SALEH
ABDULAZIZ AL-RAJHI ABDULLAH
SULAIMAN AL-RAJHI, KILALID
SULAIMAN AL-RAJHI, AL-WATANIA
POULTRY; MAR-JAC POULTRY; MAR-
JAC INVESTMENTS, INC.; PIEDMONT
POULTRY; SALIM BIN MAHFOUZ;
SNCB CORPORATE FINANCE
LIMITED: SNCB SECURITIES LIMITED
IN LONDON; SNCB SECURITIES
LIMITED IN NEW YORK; SAUDI
ECONOMIC AND DEVELOPMENT
COMPANY; ZAKAT COMMITTEE:
RED CRESCENT SAUDI COMMITTEE:
BLESSED RELIEF (MUWAFAQ)
FOUNDATION; ABDULKARIM
KHALED UUSUF ABDULLA;
ABDULRAHMAN BIN KHALID BIN
MAHPOUZ; AL-BIRR; HISHAM: HEZB-
L-ISLAMI: SAIF AL ISLAM EL
MASRY: SYED SULEMAN ALIMER;
MAZIN M.H. BAHARETH: SHAHIR
ABDULRAOO!L BATTERJEE; ZAHIR HH.
KAZMI,; MUZAIPFAR KITAN; SOLIMAN
J. KHUDEIRA: JAMAL NYRABEFH;
AHMAD AJAJ, SUCCESS
FOUNDATION; ABDULRATIMAN
ALAMOUDI; AMERICAN MUSI.IM
FOUNDATION; MOHAMMED
OMEISH:; ADNAN BASHA: MAHMOUD
JABALLAH: ARAFAT EL-ASHL, MORO
ISLAMIC LIBERATION FRONT;
JAMAL AHMED MOHAMMED;

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MOHAMMED KEHATIB; SAUDI JOINT
RELIEF COMMITTEE: TAIBAH
INTERNATIONAL AID ASSOCIATION:
ISLAMIC AFRICAN RELIEF AGENCY;
TARIK HAMDI; FAZEM AHED;
SANABIIL AL-KIIAIR; SANA-BELL,
INC.; SANABEL AL-KHEER, INC.:
KHALED NOURI; ABDULLAH M. AL-
MAIIDE, TAREQ M. AL-SWAIDAN:
ABDUL AL-MOSLAH: SALAH
BADAHDH; HASSAN A.A.
BAHPZALLAILL M. YAQUB MIRZA;
TMAB ALT, SAMIR SALAII: IBRAHIM
ILASSABELLA; HISHAM AL-TALIB;
ABU SULAYMAN: AHMED TOTONII:
IQBAL YUNUS, M. OMAR ASHRAF:
MOHAMMED JAGHLIT; MUHAMMAD
ASHRAF: SHERIF SEDKY; AFRICAN
MUSLIM AGENCY: ARADI, INC,;
GROVE CORPORATE, INC..
HERITAGE EDUCATION TRUST;
MENA CORPORATION; RESTON
INVESTMENTS, INC.; SAFA TRUST;
STERLING CHARITABLE GIFT FUND:
STERLING MANAGEMENT GROUP;
YORK FOUNDATION; NATIONAL,
DEVELOPMENT BANK; DALLAH
AVCO TRANS ARABIA CO. LTT):
OMAR AL BAYOUMI A/K/A ABU
IMARD: MASJED AL MADINAH AL
MUNAWARATI A/K/A MASJID AL
MADINAH AL MUNAWARALIH, AQSA
ISLAMIC BANK; AQEEL AL-AQEEL;
MANSOURT AL-KADI. SOLIMAN H.S,
AL-BUTHE; PEROUZ SEDA GHATY;
AHMED IBRAHIM AI. NAJJAR: ADEI.
MUHAMMAD SADIQ BIN KAZEM,
SAUDI AMERICAN BANK;
ABDULAZI]/, BIN HAMAD: KHALI. A.
KORDI:; RASIUD M, AL ROMAIZAN;
ABDULAZIZ BIN HAMAD AL
GOSAIBI; SAUDI CEMENT COMPANY
IN DAMMAN: OMAR SULAIMAN AL.-
RAJET; ARAB CEMENT COMPANY:
ZEINAB MANSOUR-FATTOUI,
MOHAMMED CHEHADE, HAZEM
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RAGAB, MOHAMMED ALCHURBAJL
MUSTAFA AL-KADIR; ABU AL-MAID:
AL SHAMAL ISLAMIC BANK A/K/A
SILAMEL BANK A/K/A BANK EL
SHAMAR; SULAIMAN AL-ALI,
KHALED NOURI; MUSLIM WORLD
LUAGUE OFFICES; ABDULLAH BIN
SALEH AL-OBAID; TAHA JABER AT.-
ALWANI; INTERNATIONAL
INSTITUTE OF ISLAMIC THOUGLIT:
IBRAHIM S. ABDULLATI;
MOHAMMED BIN FARIS; DR.
MAHMOUD DARINL; MOHAMMLD
AL FAISAL AL SAUD; ABDUL
RAHMAN AL SWAILEM; DELTA OIL,
COMPANY: NIMIR, LIC: ARAB BANK,
PLC; DUBAL ISLAMIC BANK: NABA
MANAGEMENT ORGANIZATION, SA;
ARY GROUP: ISLAMIC CULTURAL,
CENTER OF GENEVA; HANI
RAMADAN; THE COMMITTER POR
THE DEFENSE OF LEGITIMATE
RIGHTS; PROYEC TOS Y
PROMOCITONES ISO; AFAMIA, SL;
COBIS: ABRASH COMPANY:
PROMOCIONES Y CONSTRUCCIONES
TETUAN PRICOTL, 8.A.; CONTRATAS
GIOMA; EUROCOVIA OBRAS, S.A.;
PROYECTOS Y PROMOCTONES
PARDISE, $.L.; PROYECTOS EDISPAN:
GHASOUB AL ABRASIL MUSI Ar
AHMED AL-HISAWI A/K/A SHEIK
SAEED: IMAD EDDIN BARAKAT
YARKAS A/K/A ABU DAHDAII,
MUHAMMED GALFB KALAJE
ZUOYADI A/K/A ABU TALHA;
BASSAM DALATI SALUT;
ABDALRATIMAN ALARNOUT ABU
ALJER A/K/A ABU OBED;
MOHAMMED KHAIR AL SAQQA
AIK/A ABU AT. DARDA; GHASOUB AL
ABRASH GHALYOUN A/K/A ABU
MUSAB: MOMTAMMLD ALISAYED
MUSHAYT: MOHAMMED HUSSEIN
AL-AMOUDI; ABU QATADA AL-
FILISTINE A/K/A ABU ISMAIL A/K/A
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ABU UMAR A/K/A ABU OMAR OMAR
A/K/A ABU UMAR TAKFIRI A/K/A
ABU UMAR UMAR A/K/A ALI
SAMMAN UTIIMAN A/K/A OMAR
MAHMOUD UTHMAN A/K/A UMAR
UTHMAN: YASSIR AL-SIRRE A/K/A
AMMAR, MOHAMMED AL MASSARI:
LUJAIN AL-IMAN: ZIYAD KIALEEFL:
IBRAHIM BAH; ABU ZUBAYDAH:
MAMDOU]H MAHMUD SALIM A/K/A
ABU HAJER AL IRAQI: SHEIKH
ABDULLAH AZZAM A/K/A ABU
MUHAMMED; ABDULLAH SAMIL
BAHMADAN; ESSAM AL RIDL OMAR
ABU OMAR; MOHAMMED ALI
HASAN AL MOAYAD; AL FAROOQ
MOSQUE; YOUSEF JAMEEL;
IBRAHIM MUHAMMED AFANDI:
MOHAMMED BIN ABDULLAH AT-
JOMAITH: ABDULRAHMAN HASSAN
SHARBATLY; SALAHUDDIN
ABDULJAWAD,; ATIMED ZAKI
YAMANI: AHMAD AL HARBI;
MOHAMMED AL-ISSAI, HAMAD
HUSSAINI,; ABU RIDA AL SURI A/K/A
MOHAMMED LOAY BAYAZID: SAUDI
RED CRESCENT; ALIMED BRAHIM;
ABU MUSAB AL-ZARQAWI: ABU
IBRAHIM AL-MASRI: DAR AL MAAL
AL ISLAMI TRUST; DMI
ADMINISTRATIVE SERVICES, $.A,;
ISLAMIC ASSEMBLY OF NORTIL
AMERICA; SALMAN AL-OQUDA:
SAMAR AL-HAWALI. SALEH AL-
HUSSAYEN: SAMI OMAR AL-
HUSSAYEN; MUHAMMED J. PAKIHI:
QUEEN CILY CIGARETTES AND
CANDY: AGUS BUDIMAN,; AL-
BARAKA BANKCORP, INC.; AUMED
RESSAM: SAID BAHAJL: ZAKARIYA
ESSABAR

Delendants

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The above-captioned plaintiffs, by and through their attorneys, Cozen O’Connor,

complaining of the above-captioned defendants, do hereby allege the following:

I. PARTIES

1. Plaintiff. Federal Insurance Company (“Federal”), is a corporation
organized and existing under the laws of the State of Indiana, with a principal place of
business located at 15 Mountain View Road, Warren, New Jersey 07059, At all times
material hereto, Federal was engaged in the business of issuing policies of insurance.

2, Plaintiff, Pacific Indemnity Company (“Pacific”), is a corporation
organized and existing under the laws of the State of Wisconsin, with a principal place of
business located at 330 Hast Kilbourne Avenue, Suite 1450, Milwaukee, Wisconsin
53202. At all times material hereto, Pacific was engaged in the business of issuing
policies of insurance.

3. Plainuff, Chubb Custom Insurance Company (“Chubb Custom”), is a
corporation organized and existing under the laws of the State of Delaware. with a
principal place of business located at 15 Mountain View Road. Warren, New Jersey
07059. At all times material hereto, Chubb Custom was engaged in the business of
issuing policies of insurance.

4. Plaintiff, Chubb Indemnity Insurance Company (“Chubb Indemnity”), is a
corperation organized and existing wider the laws of the Suite of New York, with a
principal place of business located at 55 Water Street, New York, New York 10041, At
all times material hereto, Chubb Indemnity was engaged in the business of issuing
policies of insurance.

5, Plaintiff. Chubb Insurance Company of Canada (“CICC”), is a corporation

organized and existing under the laws of the Province of Ontario, Canada, with a
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principal place of business located at One Financial Plaza, One Adelaide Street East,
Floor 16, Toronto, MSC 2V9 Ontario, Canada. At all times material hereto. CICC was
engaged in the business of issuing policies of insurance.

6. Plainaff, Chubb Insurance Company of New Jersey (“CICNJ”), is a
corporation organized and existing under the laws of the State of New Jersey, with a
principal place of business located at 15 Mountain View Road, Warren, New Jersey
07059, Atall times material hereto, CICNJ was engaged in the business of issuing
policies of insurance.

7. Plaintiff, Great Northern Insurance Company (“Great Northern”), is a
corporation arganized and existing under the laws of the State of Minnesota, with a
principal place of business located at 1000 Pillsbury Center, Minneapolis, Minnesota
55402. At all times matertal hereto, Great Northern was engaged in the business of
issuing policies of insurance.

8. Plaintiff, Vigilant Insurance Company (“Vigilant”), is a corporation
organized and existing under the laws of the State of New York, with a principal place of
business located at 55 Water Street, New York, New York 10038. Atall times material
hereto, Vigilant was engaged in the business of issuing policies of insurance.

9. Plainuff, Zurich American Insuranec Company (“Zurich”), is a
corporation organized and existing under the laws of the State of New York, witha
principal place of business located at 1400 American Lane, Schaumburg, Illinois 60196.
At all times material hereto, Zurich was engaged in the business of issuing policies of
insurance,

10. Plaintiff, American Guarantee and Liability Insurance Company

(“American Guaranice”), is a corporation organized and existing under the laws of the
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State of New York, with a principal place of business located at 1400 American Lane,
Schaumburg. Illinois 60196. Atall times material hereto, American Guarantee was
engaged in the business of issuing policies of insurance.

1]. Plaintiff, American Zurich Insurance Company (“American Zurich”), is a
corporation organized and existing under the laws of the State of Ilinots, with a principal
place of business located at 1400 American Lane, Schaumburg, Illinois 60196. Atall
times material hereto, Auerican Zurich was engaged in the business of issuing policies of
insurance.

12. Plaintiff, Assurance Company of America (“Assurance of America’), is a
corporation organized and existing under the laws of the State of New York, with a
principal place of business located at 1400 American Lane, Schaumburg. Illinois 60196,
At all times material hereto, Assurance of America was engaged in the business of
issuing policies of insurance,

13. Plaintiff, Colonial American Casualty and Surety Insurance Company
(“Colonial American”), is a corporation organized and existing under the laws of the
State of Maryland, with a principal place of business located at 1400 American Lane,
Schaumburg, I[linois 60196. At all times material hereto, Colonial American was
engaped in the business of issuing policies of insurance.

14, Plaintiff, Fidelity and Deposit Company of Maryland (“Fidelity”), is a
corporation organized and existing under the laws of the State of Maryland, with a
principal place of business located at 1400 American Lane, Schaumburg, Illinois 60196,
Atall times material hereto, Fidelity was engaged in the business of issuing policies of

insurance,
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15. Plaintiff, Maryland Casualty Company (“Maryland”), is a corporation
organized and existing under the laws of the State of Maryland. with a principal place of
business located at 1400 American Lane, Schaumburg, Illinois 60196. Atall times
material hereto, Maryland was engaged in the business of issuing policies of insurance.

16. Plaintiff. Northern Insurance Company of New York (“Northern”), is a
corporation organized and existing under the laws of the State of New York, with a
pliucipal place of business located at 1400 American Lane, Schaumburg, Illinois 60196.
At ali times material hereto, Northern was engaged in the business of issuing policies of
insurance,

17. Plaintiff, Steadfast Insurance Company (“Steadfast”), is a corporation
organized and existing under the laws of the State of Delaware, with a principal place of
business located at 1400 American Lane, Schaumburg, Illinois 60196. At all times
material hereto. Steadfast was engaged in the business of issuing policies of insurance.

18. Plainult, Valiant Insurance Company (“Valiant”), is a corporation
organized and existing under the laws of the State of Iowa, with a principal place of
business located at 1400 American Lane, Schaumburg, Illinois 60196, At all times
material hereto, Valiant was engaged in the business of issuing policies of insurance.

19. Plaintiff, One Beacon Insurance Company (“One Beacon”), is a
corporation organized and existing under the laws of the Commonwealth of
Massachusetts, with a principal place of business located at One Beacon Street, Boston,
Massachusetts 02108. At ail limes material hereto. One Beacon was engaged in the
business of issuing policies of insurance.

20, Plainuff, One Beacon America Insurance Company (“One Beacon

America”), is a corporation organized and existing under the laws of the Commonwealth

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of Massachusetts, with a principal place of business located at One Beacon Street.
Boston, Massachusetts 02108. At all times material hereto, One Beacon America was
engaged in the business of issuing policies of insurance.

21. Plaintiff, American Employers’ Insurance Company (“American
Employers”), is a corporation organized and existing under the laws of the
Commonwealth of Massachusetts, with a principal place of business located at One
Beacon Street, Boston, Massachusetts 02108. Atall times material hereto, American
Employers was cngaged in the business of issuing policies of insurance.

22. Plaintiff, The Camden Fire Insurance Association (“Camden”), is a
corporation organized and existing under the laws of the State of New Jersey, with a
principal place of business located at One Beacon Sireet. Boston, Massachusetts 02108.
At all times material hereto, Camden was engaged in the business of issuing policies of
insurance.

23. Plaintiff. lomeland Insurance Company of New York (“Homeland”), is a
corporation organized and existing under the laws of the State of New York, witha
principal place of business located at One Beacon Street, Boston, Massachusetts 02108.
Atall times material hereto, Homeland was engaged in the business of issuing policies of
insurance.

24, Plaintiff, Crum & Forster Indemnity Company (“Crum & Forster”), is a
corporation organized and existing under the laws of the State of New Jersey, with a
principal place of business located at 305 Madison Avenue, Morristown, New Jersey
07960. At all times material hereto, Crum & Forster was engaged in the business of

issuing policies of insurance.
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25. Plainuff, North River Insurance Company (“North River"), is a
corporation organized and existing under the laws of the State of New Jersey, with a
principal place of business located at 305 Madison Avenue, Morristown, New Jersey
07960. Atall times material hereto, North River was engaged in the business of issuing
policies of insurance.

26, Plaintiff. United States Fire Insurance Company (“United States Fire”), is
a corporation organized and existing under the laws of the State of New York, with a
principal place of business located at 395 Madison Avenuc, Morristown, New Jersey
07960. Atall time material hereto, United States Fire was engaged in the business of
issuing policies of insurance.

27. Plaintiff, American Alternative Insurance Corporation (“American
Alternative”), is a corporation organized and existing under the laws of the State of
Delaware, with a principal place of business located at 555 College Road East, Princeton,
New Jersey 08543. At all times material hereto, American Alternative was engaged in
the business of issuing policies of insurance.

28. Plaintiff, Great Lakes Resinsurance U.K. PLC (Great Lakes”), is a
corporation organized and existing under the laws of the United Kingdom, with a
principal place of business located at 1 Minster Court, Mincing Lane, Londen, England
LC3R 7YH. At all mes material hereto, Great Lakes was engaged in the business of
issuing policies of insurance.

29. Plaintiff, The Princeton Excess & Surplus Lines Insurance Company
(“Princeton Excess”), is a corporation organized and existing under the laws of the State

of Delaware, with a principal place of business located at 555 College Road East,

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Princeton, New Jersey 08543. At all times material hereto, Princeton Excess was
engaged in the business of issuing policies of insurance.

30. Plaintiff. Amlin Underwriting Limited (*Amlin”), is a corporation
organized and existing under the laws of the United Kingdom, with a principal place of
business located at 1 St. Helen’s. | Undershaft, London, FC3A 8ND, England. At all
times material hereto, Amlin was engaged in the business of issuing policies of insurance.

31. Plaintiff, Hiscox Dedicated Corporate Member Ltd. ("Hiscox") is a
corporation organized and existing under the laws of the United Kingdom, with a
principal place of business located at 1 Great St. Helen’s, London, EC3A 6ELX, England.
Atall times material hereto, Hiscox was engaged in the business of issuing policies of
insurance.

32. Plaintiff, Allstate Insurance Company (“Allstate”), is a corporation
organized and existing under the laws of the state of Illinois, with a principal place of
business located at 3075 Sanders Road, Northbrook, LL 60062. At all times material
hereto, Allstate was engaged in the business of issuing policies of insurance.

33. Plaintiff, Boston Old Colony Insurance Company (“Old Colony”), is a
corporation organized and existing under the laws of the commonwealth of
Massachusetts, with a principal place of business located at CNA Plaza, Chicago, Illinois
60685. Atall umes material hereto, Old Colony was engaged in the business of issuing
policies of insurance.

34, Plaintiff, Continental Insurance Company (“Continental Insurance”), is a
corporation organtzed and existing under the laws of the state of New Hampshire, with a

principal place of business located al CNA Plaza, Chicago, Illinois 60685. At all times
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material hereto, Continental Insurance was engaged in the business of issuing policies of
insurance.

35. Plainuff, Commercial Insurance Company of Newark, NJ. is a corporation
organized and existing under the laws of the state of New Jersey, with a principal place of
business located at CNA Plaza, Chicago. Llinois 60685. At all times material hereto,
Commercial Insurance Company of Newark, NJ was engaged in the business of issuing
policies of insurance.

36. Plaintiff, CNA Casualty of California (CNA Casualty”), is a corporation
organized and existing under the laws of the state of California, with a principal place of
business located at CNA Plaza, Chicago. Hlinois 60685. At all times material hereto,
CNA Casualty of California was engaged in the business of issuing policies of insurance.

37, Plaintiff. Continental Insurance Company of New Jersey, is a corporation
organized and existing under the laws of the siate of New Jersey. with a principal place of
business located at CNA Plaza, Chicago, tllinois 60685. At all times material hereto,
Continental Insurance Company of New Jersey was engaged in the business of issuing
policies of insurance.

38. Plainuff, Fidelity and Casualty Company of New York. is a corporation
organized and existing under the laws of the state of New Hampshire, with a principal
place of business located at CNA Plaza, Chicago, Illinois 60685. Atall times material
hereto, lidelity and Casualty Company of New York was engaged in the business of
issuing policies of insurance.

39. Plaintiff, Glens Falls Insurance Company (‘Glens Falls”), ts a corporation

organized and existing under the laws of the state of Delaware, with a principal place of

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business located at CNA Plaza, Chicago, Illinois 60685. At all times material hereto.
Glens Falls was engaged in the business of issuing policies of insurance.

4). Plaintiff, National Ben Pranklin Insurance Company of Illinois (“Ben
Franklin”), 1s a corporation organized and existing under the laws of the state of IIinois,
with a principal place of business located at CNA Plaza, Chicago, Illinois 60685. At all
times material hereto, Ben l'ranklin was engaged in the business of issuing policies of
insurance.

4]. Plaintiff Seneca Insurance Company, Inc. (“Seneca”), is a corporation
organized and cxisting under the laws of the state of New York, with a principal place of
business located at 160 Water Street, New York, NY 10038. At all times material hereto,
Seneca was engaged in the business of issuing policies of insurance.

42, Defendant, al Qaida, is a designated Foreign Terrorist Organization
(“FTO”), pursuant to §219 of the Immigration and Nationality Act, as amended by the
Anti-terrorism and L:ffective Death Penalty Act of 1996. Established by defendant
Osama bin Laden in the late 1980°s, al Qaida is a global network of several thousand
terrorist cells, members, associates and supporters, dedicated to the establishment of a
pan-Islamic Caliphate throughout the world. The network's strength is reinforced by its
tics to other PTOs, cxtremist organizations and sympathetic tuidividuals and State
Sponsors. Al Qaida frequently functions through, in concert with, or with the support of,
the terrorist organizations and groups that operate under its umbrella or with its support.
In February 1998, al Qaida issued a fafa under the banner “the World Islamic Front for
Jihad Against Jews and Crusaders,” saying it was the duty of all Muslims to kill United

States citizens - civilian or military - and their allies everywhere.
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43. Defendant, Egyptian Islamic Jihad, is a designated FTO, pursuant to §219
of the Immigration and Nationality Act, as amended by the Anti-terrorism and Effective
Death Penalty Act of 1996. Egyptian Islamic Jihad operates in concert, conspires,
exchanges material support and resources, and is otherwise affiliated with al Qaida.
Ayman al-Zawihiri, a prominent Jeader of Egyptian Islamic Jihad, has served as a
member of al Qaida’s leadership council, known as the shura, since al Qaida’s inception.
According to the United States government, Egyptian Islamic Jihad merged with al Qaida
at some point prior to June 2001, but retains the capacity to commit acts of international
terrorism independently,

44, Defendant, Ashat al-Ansar, is a designated FTO, pursuant to §219 of the
Immigration and Nationality Act, as amended by the Anti-terrorism and Effective Death
Penalty Act of 1996, Asbat al-Ansar operates in concert, conspires, exchanges material
support and resources, and is otherwise affiliated with al Qaida.

45. Defendant, Al Gama’a al-Islamiyya, is a designated FTO, pursuant to
§219 of the Immigration and Nationality Act, as amended by the Anti-terrorism and
Effective Death Penalty Act of 1996. Al Gama’a al-Islamiyya operates in concert,
conspires, exchanges material support and resources, and is otherwise affiliated with al
Qaida. A senior official of Al Gama’a al-Islamiyya signed al Qaida’s February 1998
fatwa calling for attacks against the United States.

46. Defendant, Salafist Group for Call and Combat, is a designated FTO,
pursuant to §219 of the Immigration and Nationality Act, as amended by the Anti-
terrorism and liffective Death Penalty Act of 1996, Salafist Group for Call and Combat
Operates tn concert, conspires, exchanges material support and resources, and is otherwise

affiliated with al Qaida.

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47. Defendant, Lashkar | Janghvi, is a designated FTO, pursuant to §219 of
the Immigration and Nationality Act. as amended by the Anti-terrorism and Effective
Death Penalty Act of 1996. Lashkar I Janghvi operates in concert. conspires, exchanges
material support and resources, and is otherwise affiliated with al Qaida.

48. Defendant, Lashkar-e Tayyiba, is a designated FTO, pursuant to §219 of
the Immigration and Nationality Act, as amended by the Anti-terrorism and Effective
Death Penalty Act of 1996. Lashkar-c-Tayyiba operates in concerl, conspires, exchanges
material support and resources, and is otherwise affiliated with al Qaida.

49, Defendant, Jemaah Islamiya Organization, is a designated FTO, pursuant
to $219 of the Immigration and Nationality Act, as amended by the Anti-terrorism and
Lffective Death Penalty Act of 1996. Jemaah Islamiya Organization operates in concert,
conspires, exchanges material support and resources, and is otherwise affiliated with al
Qaida.

50. Defendant, Hezbollah, is a designated FIO, pursuant to §219 of the
Immigration and Nationality Act, as amended by the Anti-terrorism and Effective Death
Penalty Act of 1996. Hezbollah operates in concert, conspires, exchanges material
support and resources, and is otherwise affiliated with al Qaida. he relationship
between Hezbollah and al Qaida was forged during mectings between Osama bin Laden
and Imad Mughniyah, Hezbollah’s chief of operations, and has included coordination on
explosives and tactics training, moncy laundering, weapons smuggling and acquisition of
forged identification documents. According to United States intelligence officials,
Hezbollah operates under the direction, and by virtue of the direct license, of the Lranian
and Syrian governments. Hezbollah is, in effect, an agency and instrumentality of the

tranian and Syrian governments.
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31, Defendant, Abu Sayef Group, is a designated FTO, pursuant to §219 of
the Immigration and Nationality Act, as amended by the Anti-terrorism and Fffective
Death Penalty Act of 1996. Abu Sayef Group operates in concert, conspires, exchanges
material support and resources, and is otherwise affiliated with al Qaida.

52. Defendant, Algerian Armed Islamic Group a/k/a GIA, is a designated
FTO, pursuant to §219 of the Immigration and Nationality Act, as amended by the Anti-
terrorism and Effective Death Penalty Act of 1996. Algerian Armed Islamic Group
operates in concert, conspires, exchanges material support and resources, and is otherwise
affiliated with al Qaida.

53. Defendant, HAMAS, is a designated FTO, pursuant to §219 of the
Immigratton and Nationality Act, as amended by the Anti-terrorism and Effective Death
Penalty Act of 1996. HAMAS operates in concert, conspires, exchanges material support
and resources, and is otherwise affiliated with al Qaida.

54. Defendant, Palestine Islamic Jihad, is a designated FTO, pursuant to $219
of the Immigration and Nationality Act, as amended by the Anti-terrorism and Effective
Death Penalty Act of 1996, Palestine Islamic Jihad operates in concert, conspires,
exchanges material support and resources, and is otherwise affiliated with al Qaida.

53. Defendant, ‘The Islamic Republic of Iran (“Iran”), is a fureign stale within
the meaning of 28 U.S.C. §1391(f), and a designated State Sponsor of terrorism pursuant
to the Export Administration Act of 1979 and the Foreign Assistance Act of 1961.

56. Defendant Iran has long provided material support and resources to al

Qaida, as further deseribed herein.
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37. Defendant, Republic of Iraq (“Iraq”), is a foreign state within the meaning
of 28 U.S.C. §1391(f), and a designated State Sponsor of terrorism pursuant to the Export
Administration Act of 1979 and the Foreign Assistance Act of 1961.

58. Defendant Iraq has long provided material support and resources to al
Qaida, including training in document forgery, bomb making and poison and pas
production, as further described herein.

59. Defendant, The Republic of Sudan (“Sudan”), is a foreign state within the
meaning of 28 U.S.C. §1391(f), and a designated State Sponsor of terrorism pursuant to
the Export Administration Act of 1979 and the Foreign Assistance Act of 1961. Sudan
maintains an Embassy within the United States at 2210 Massachusetts Avenue, N.W.,
Washington, D.C. 20008-2831.

60. Defendant Sudan has long provided material support and resources to al
Qaida. According to the United States government, Sudan’s support of al Qaida has
included para-military training, indoctrination, money, travel documentation, safe
passage and refuge in Sudan, as further described herein.

6l. Defendant, Syrian Arab Republic (“Syria”), is a foreign state within the
meaning of 28 U.S.C. §1391(f), and a designated State Sponsor of terrorism pursuant to
the Export Administration Act of 1979 and the Forcign Assistance Act of 1961.

62, Defendant Syria has long provided material support and resources to al
Qaida, as further described herein.

63. Defendant, Kingdom of Saudi Arabia (“Saudi Arabia”), is a foreign state
within the meaning of 28 U.S.C. $1391¢9. Saudi Arabia maintains an Embassy within

the United States at 601 New Ilampshire Avenue, N.W.. Washington, D.C. 20037.

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64, Defendant Saudi Arabia has long provided material Support and resources
to al Qaida, including massive financial and lopistical assistance, as further described
herein.

65. Defendants, Osama bin Laden; Muhammad Atif a/k/a Subhi Sitta a/k/a
Abu Hafs al-Masri; Sayf al-Adl; Shaykh Sa’id a/k/a Mustafa Muhammad Ahmad: Abu
Hats the Mauritanian a/k/a Mahfouz Ould al-Walid a/k/a Khalid al-Shanqiti; fon al-
Shaykh al-Libi; Abu Zubaydah a/k/a Zayn al Abidin Muhammad Husayn Tariq; Abd al-
Hadi al-lraqi a/k/a Abu Abdullah; Ayman al-Zawahiri; Thirwat Salah Shihata a/k/a
Muhammad Ali, Tariq Anwar al-Sayyid Ahmad a/k/a Fathi a/k/a Amr al-Fatih;
Muhammad Salah a/k/a Nasr Fahmi Nasr Hasanayn; Makhtab al-Khidamat a/k/a Al-
Khifaf; Al-Ttihaad al-Islamiya (AIA1); Islamic Army of Aden; Wafa Humanitarian
Organization; Al-Rashid Trust; Mamoun Darkazanli Import-Export Company: Nurjaman
Riduan Ismuddin a/k/a Hambali; Mohammed Iqbal Abdurrahman a/k/a/ Abn Jibril:
Benevolence International Foundation; Benevolence International Fund; Bosanska
[dealna Futura; Global Relief Foundation a/k/a Foundation Secours Mondial; Mounir El
Motassadeq; Ramzi Binalshibh; Zakarya Essabar; Said Bahaji; Turkistan Islamic
Movement, Wa’el Hamza Julaidan a/k/a Al-Ilasan al Madani; Adel Ben Soltane; Nabil
Beuattla, Yassine Chekkouri, Riadh Jelassi; Mendi Kammoun; Samir Kishk: Tarek Ben
Habib Maaroufi,; Abdelhalim Remadna; Mansour Thaer; Lazhar Ben Mohammed TIili:
Ilabib Waddani; Akida Bank Private Limited; Akida Investment Co. Ltd.; Nasreddin
Group International Holding Lid.; Nasco Nasreddin Holding A.S.; Nascotex S.A.;
Nasreddin Foundation; BA Taqwa for Commerce and Real L:state Company Lid.; Miga -
Malaysian Swiss, Gulf and African Chamber; Gulf Center $.R.L.; Nascoservice §.R.L..

Nasco Business Residence Center SAS Di Nasreddin Ahmed Idris EC; Nasreddin

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Company Nasco SAS Di Ahmed Idris Nassneddin EC; Nada International Anstalt;
Nasreddin International Group Limited Holding; The Aid Organization of the Ulema;
Ahmed Idris Nasreddin; Youssef Nada; Abdelkadir Mahmoud Es Sayed; Khalid Al-
Fawaz; Abu Hamza Al-Masri; Mohamed Ben Belgacem Aouadi; Mokhtar Boughougha;
Tarek Charaabi; Sami Ben Khemais Essid: Lased Ben Heni; Somalia Branch of the Al-
Haramain Islamic Foundation; Bosnia-~Herzegovina branch of Al-Haramain Islamic
Foundation, Uiuima Tameer-E-Nau (UTN); Bashir-Ud-Din Mahmood; Abdul Majeed;
S.M. Tufail; Al-Barakaat; Al Taqwa/Nada Group; Aaran Money Wire Service, Inc.; Al
Baraka Exchange LI.C; Al Barakaat Bank; Al-Barakat Bank of Somalia (BSS); Al-
Barakat Finance Group; Al-Barakat Financial Iolding Co.; Al Barakat Global
Telecommunications; Al-Barakat Group of Companies Somalia Limited; Al-Barakat
International a/k/a Baraco Co: Al-Barakat Investments: Al-Barakat Wiring Service; Al
Taqwa Trade, Property and Industry Company Limited; ASAT Trust: Bank al Tagwa
Limited; Baraka Trading Company; Barakaat Boston; Barakaat Construction Company;
Barakaat Enterprise, Barakaat Group of Companies; Barakaat International; Barakaat
International Foundation; Barakaat International, Inc.; Barakaat North America, Inc.:
Barakaat Red Sea Telecommunications; Barakaat Telecommunications Co. Somalia;
Barakat Bank and Remittances, Barakat Computer Consulting (BCC); Burakat
Consulting Group (BCG); Barakat Global ‘lelephone Company: Barakat International
Companies (BICO), Barakat Post Express (BPE); Barakat Refreshment Company:
Barakat Wire Transfer Company: Barakat Telecommunications Company Limited
(BTELCO),; Barako Trading Company, LLC; Global Services International; Heyatul
Ulya; Nada Management Organization; Parka Trading Company; Red Sea Barakat

Company Limited; Somalia International Relief Organization; Somalia Internet

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Company; Somalia Network AB; Youssef M. Nada & Co. Gesellschaft MBH; Youssef
M. Nada; Hussein Mahmud Abdullkadir; Abdirasik Aden: Abhas Abdi Ali: Abdi
Adulaziz. Ali; Yusaf Ahmed Ali: Dahir Ubeidullahi Aweys: Hassan Dahir Aweys; Garad
Jama; Alt Ghaleb Himmat; Albert Fredrich Armand Huber: Liban Hussein; Ahmed Nur
Ali Jim’ale, Abdullahi Hussein Kahic; Mohammed Mansour; Zeinab Mansour-Fattah;
Abdullah Ahmed Abdullah a/k/a Abu Mariam a/k/a Abu Mohamed Al-Masri a/k/a Saleh;
Haji Abdul Manan Agha a/k/a Abd Al-Man‘am Saiyid; Al-Hamati Sweets Bakeries:
Muhammad Al-Ifamati a/k/a Mohammad Hamdi Sadiq Al-Ahdal a/k/a Abu Asim Al-
Makki,; Amin Al-Hagq a/k/a Dr. Amin Ah Haq a/k/a Muhammad Amin a/k/a Dr. Amin UL
Haq; Saqar Al-Sadawi; Ahmad Sa’ld Al-Kadr a/k/a Abu Abd Al-Rahman Al-Kanadi;
Anas Al-Liby a/k/a Anas Al-Libi a/k/a Nazim Al-Raghie a/k/a Nazih Abdul Hamed Al-
Raghie a/k/a Anas Al-Sabai; Ahmad Ibrahim Al- Mughassil a/k/a Abu Omran a/k/a
Ahmed Ibrahim Al-Mughassil: Abdelkarim Hussein Mohamed Al-Nasser: Al-Nur Honey
Press Shops a/k/a Al-Nur Honey Center; Yasin Al-Qadi a/k/a Shaykh Yassin Abdullah
Kadi a/k/a Yasin Kahdi, Sa’D Al-Sharif; Al-Shifa’ Honey Press for Industry and
Commerce; Ibrahim Salih Mohammed Al-Yacoub; Ahmed Mohammed Hamed Ali a/k/a
Ahmed Mohammed Abdurehman a/k/a Abu Fatima a/k/a Abu Islam a/k/a Abu Khadiijah
a/k/a Ahmed Lamed a/k/a Aluned the Egyplian a/k/a Ahmed Ahmed a/k/a Ahamad Al-
Masri a/k/a Abu Islam Al-Surir a/k/a Ahmed Mohammed Ali a/k/a Hamed Ali a/k/a
Ahmed Hemed a/k/a Ahmed Shieb a/k/a Shuaib; Ali Atwa a/k/a Ammar Mansour
Boushm a/k/a Hassan Rostom Salim: Muhsin Musa Matwalli Atwah a/k/a Abdel Rahman
a/k/a Abdul Rahman a/k/a Abdul Rahman Al-Muhajir a/k/a Mohammed K.A. Al-Namer:
Bilal Bin Marwan; Ayadi Chafiq Bin Muhammad a/k/a Ben Muhammad Aiadi a/k/a Ben

Muhammad Aiady a/k/a Ben Muhammad Ayadi Chafik a/k/a Ben Muhammad Ayadi

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Shafiq: Mamoun Darkazanli; Ali Saed Bin Ali El-Hoorie a/k/a Ali Saed Bin Ali Al-Houri
a/k/a Ali Saed Bin Ali El-Houri; Mustafa Mohamed Fadhil a/k/a Abd Al Wakil Al Masri
a/k/a Abu Al-Nubi a/k/a Hassan Ali a/k/a Abu Anis a/k/a Moustafa Ali Elbishy a/k/a
Mustafa Muhamad Fadil a/k/a Mustafa Fazul a/k/a Hussein a/k/a Abu Jihad a/k/a Khalid
a/k/a Nu Man a/k/a Mustafa Mohammed a/k/a Abu Yussrr; Ahmed Khalfan Ghailani
a/k/a Ahmed the Tanzanian a/k/a Foopie a/k/a Fupi a/k/a Abu Bakr Ahmad a/k/a A.
Ahmed a/k/a Abubakar Ahrmed a/k/a Abubakar K. Ahmed a/k/a Abubakar Khalfan
Ahmed a/k/a Abubakary K. Ahmed a/k/a Ahmed Khalfan Ahmed a/k/a Ahmad Al
‘Tanzani a/k/a Ahmed Khalfan Ali a/k/a Abu Bakr a/k/a Abubakary Khalfan Ahmed
Ghailant a/k/a Ammed Ghailani a/k/a Ahmad Khalafan Ghilani a/k/a Mahafudh
Abubakar Ahmed Abdallah Hussein a/k/a Abu Khabar a/k/a Ahmed Khalfan a/k/a Shariff
Omar Mohammed; Riad Hijazi a/k/a Abu-Ahmad Al-Amriki a/k/a Abu-Ahmad Al-
Hawen a/k/a Rashid Al-Maghribi a/k/a Abu-Ahmad Al-Shahid a/k/a M Raed Hijavi:
Hasan Izz-Al-Din a/k/a Ahmed Garbaya a/k/a Sa-Id a/k/a Samir Salwwan; Jaish-1-
Mohammed a/k/a Army of Mohammed: Jam’ Yah Ta’Awun AL-Islamia a/k/a Jam ’lyat Al
Ta’Awun Al Islamiyya a/k/a JIT a/k/a Society of Islamic Cooperation; Mufti Rashid
Ahmad Ladehyanoy a/k/a Mufti Rasheed Ahma a/k/a Mufti Rashid Ahmad Ludhianvi
a/k/a Mufti Rashid Ahmad Wadehyanoy; Pazul Abdullali Mohamuned a/k/a Fazul
Abdalla a/k/a Fazul Adballah a/k/a Abu Aisha a/k/a Abu Seif Al Sudani a/k/a Fadel
Abdallah Mohammed Ali a/k/a Abdalla Fazul a/k/a Abdallah Fazul a/k/a Abdallah
Mohammed Fazul a/k/a Haroon Fazul a/k/a Harun Fazul a/k/a Haroon a/k/a Fadhil
Haroun a/k/a Harun a/k/a Abu Lugman a/k/a Fazul Mohammed a/k/a Fazul Abdilahi
Mohammed a/k/a Fouad Mohammed a/k/a Fadil Abdallah Muhamad; Khalid Shaikh

Mohammed a/k/a Salem Ali a/k/a Fahd Bin Abdallah Bin Khalid a/k/a Ashraf Refaat
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Nabith Henin a/k/a Khalid Adbul Wadood; Fahid Mohammed Ally Msalam a/k/a Usama
Al-Kini a/k/a Fahid Mohammed Ally a/k/a Fahad Ally Msalam a/k/a Fahid Mohammed
Ali Msalam a/k/a Mohammed Ally Msalam a/k/a Fahid Mohammed Ali Musalaam a/k/a
Fahid Muhamad Ali Salem; RabitaTrust; Ansar al-Islam (AD) a/k/a Jund al-Islam:
Youssef Abdaoui a/k/a Abu Abdullah a/k/a Abdellah a/k/a Abdullah: Mohammed Amine
Akli a/k/a Samir a/k/a Kali Sami a/k/a Elias; Mohrez Amdouni a/k/a Fabio Fusco a/k/a
Mohammed Hassan a/k/a Tuale Abu: Chiheb Ben Mohamed Ayari a/k/a Abu Elohem
Hichem; Mondher Baazaoui a/k/a Hamza; Lionel Dumont a/k/a Bilal a/k/a Hamza a/k/a
Jacques Brougere, Moussa Ben Amor Essaadi a/k/a Dah Dah a/k/a Abdelrahmman a/k/a
Bechir, Rachid Fehar a/k/a Aminedel Belgio a/k/a Djaffar; Brahim Ben Hedili Hamami:;
Khalil Jarraya a/k/a Khalil Yarraya a/k/a Aziz Ben Narvan Abdel’ a/k/a Amro a/k/a Omar
a/k/a Amrou a/k/a Amr; Mounir Ben Habib Jerraya a/k/a Yarraya; Fouzi Jendoubi a/k/a
Said a/k/a Samir; Fethi Ben Rebai Masri a/k/a Amor a/k/a Omar Abu a/k/a Fethi Alte:
Najib Ouaz, Ahmed Hasni Rarrbo a/k/a Abdallah a/k/a Abdullah; Nedal Saleh a/k/a
Hitem; Abdelghant Mzoudi; Gulbuddin Hekmatyar; Imad Mughniyeh; Muhammad
Omar; Islamic International Brigade; Special Purpose Islamic Regiment; and Riyadus-
Salikhin Recognizance and Sabotage Battalion of Chechen Martyrs, have been
designated as supporters and associates of terrorists by the U.S. goverment, pursuant lo
Executive Order 13224, based on their material support and sponsorship of, or affiliation
with, defendant al Qaida and/or affiliated FTOs, associations, organizations or persons.
‘The claims asserted against these defendants are predicated on the conduct and evidence
underlying their designations by the U.S. government, and the additional grounds set

forth herein.

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66. Defendants Princess Haifa Al-Faisal: Prince Bandar bin Sultan bin
Abdulaziz al Saud; Osama Bassnan; Omar Al-Bayoumi: Fahad Al-Thumairy; World
Assembly of Muslim Youth: Sheikh Ahmed Salim Swedan; Muhammad Abu-Islam:
Abdullah “Qassim; Hashim Abdulrahman: Jamal Al-Badawi; Mohammed Omar Al-
Harazi: Walid Al-Sourouri; Fatha Adbul Rahman; Yasser Al-Azzani: Jamal Ba Khorsh;
Ahmad Al-Shinni; Jamil Qasim Saeed; Abu Abdul Rahman; Mohamed Bayazid; Abu
Musab Zarqawi, Sheikh Omar Bakri Muhammad; Abdul Fattah Zammar; Ghasoub Al
Abrash Ghalyoun a/k/a Abu Musab; Bensayah Belkacem: Sabir Lamar, Wadih El-Hage;
Wali Khan Amin Shah; Zacarias Moussaoui; The Taliban: Maulvi Abdul Kabir; Jalil
Shinwari: Noor Jalil; Abdel Hussein: Adu Agab; National Islamic Front; Ilassan Turabi;
Iss El-Din El Sayed; Lashkar Redayan-E-Islami; Ahmad Salah a/k/a Salim; Abd Al-
Mushin AI-Libi, Abdul Rahman Khaled Bin Mahfouz: Abdul Rahman Yasin; Abdulla Al
Obaid; Abdula Bin Laden; Advice and Reformation Committee; Afghan Support
Committee; Al Khaleejia for Export Promotion and Marketing Company; Al-Haramain
a/k/a Al-Haramain Foundation, Lnaam M. Arnanout; International Development
Foundation; International Islamic Relief Organization; International Institute of Islamic
Thought; Islamic Cultural Institute of Milan; Jamal Barzinji; Khaled Bin Mahfouz;
Mohammed Jamal Khalifa; Mohammed Salim Bin Mahfouz; Muslim World Leayue,
National Commercial Bank; Prince Nayef Bin Abdulaziz Al Saud; Prince Sultan Bin
Abdulaziz Al Saud; Rabih Haddah; SAAR Foundation; Saudi Sudanese Bank: Al Shamal
Islamic Bank ;Sheikh Abu Bdul Aziz Nagt; Sheik Adit Galil Batargy a/k/a Adel Abdul
Jalil Batterjee; Suleiman Abdel Aziz Al Rajhi; Taba Investments; Tanzanite King; Ulema
Union of Afghanistan, Wadi Al Aqiq; Infocus Tech of Malaysia; Yazid Sufaat of Kuala

Lumpur Malaysia; Al-Shaykh Al-Iragi; Azzam Service Center; Abu Hajer Al Iraqi;

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Mohammed Al Faisal Al Saud; Al-Hijrah Construction and Development Limited: Gum
Arabic Company Limited: Al Shamal For Investment and Development: Saleh Abdullah
Kamel; Al Baraka Investment and Development; Saudi Dallah Al Baraka Group LLC;
Islamic Investment Company of the Gulf; Dar-Al-Maal Al Islami: Al-Bir Saudi
Organization; Mohammad S. Mohammad: ‘ladamon Islamic Bank; Mustasim Abdel-
Rahim, National Fund for Social Insurance: Abdul-Rahim Mohammed Hussein; Al Amn
Al-Dakhili; Al Amn Al-Khariji, Abd Al Samad Al-Ta’*lsh; Mohamed Sadeek Odeh;
Abdel Barry; Ahmad Salah a/k/a Salim; Mahdi Chamran Savehi; Mohammed Sarkawi;
Al Tawhid: Haji Mohamad Akram; Abdallah Omar; Umar Faruq; Abd AL-Rahim AI-
Nashiri: Turki Al Faisal Al Saud a/k/a Prinee Turki; Prince Abdullah Al Faisal Bin
Abdulaziz Al Saud a/k/a Prince Abdullah; Prince Salman Bin Abdul Aziz, Al Saud a/k/a
Prince Salman; Zouaydi a/k/a Muhammed Galeb Kalaje Zoaaydi a/k/a Abu Talha:
Mullah Kakshar; Abdulaziz Bin Abdul Rahman Al Saud; Arafat El-Asahi; Haydar
Mohamed Bin Laden; Mohammed Bin Abdulrahman Al Ariefy; Faisal Group Holding
Company, Al Faisaliah Group; Bashsh Hospital; Mushayt tor ‘l'rading Establishment:
Abdullah Bin Abdul Muhsen Al Turki a/k/a Al Turki; Saudi High Commission a/k/a The
Saudi High Relief Commission; Abdul Aziz Al Ibrahim a/k/a Al Ibrahim: Tarek Ayoubi;
Al Anwa; Help African People; Ibrahim Bin Abdul Aziz Al Ibrahim Poundation; Mercy
International Relief Agency; Islamic Movement of Uzbekistan; Saudi Bin Laden Group;
Bakr M. Bin Laden; Salem Bin Laden; Saleh Gazaz; Mohammed Bahareth; Abdullah Bin
Said; Mohammed Nur Rahmi: Tarek M. Bin Laden; Omar M. Bin Laden: Mohammed
in Laden Organization; Saudi Bin Laden International Company: Yeslam M. Bin
Laden, Global Diamond Resource; Human Concern International Society; Talal

Mohammed Badkook; Dr. Mohaman Ali Elgari; New Diamond Holdings; M.M.

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Badkook Company for Catering & Trading; Al-Mustaqbal Group: National Management
Consultancy Center; Al-Rajhi Banking & Investment Corporation: Saleh Abdulaziz Al-
Rajhi; Abdulfah Sulaiman Al-Rajhi; Khalid Sulaiman Al-Rajhi: Al-Watania Poultry;
Mar-Jac Poultry; Mar-Jac Investments, Inc.; Piedmont Poultry; Salim Bin Mahfouz:
SNCB Corporate Finance Limited; SNCB Securities Limited in London: SNCB
Securities Limited in New York; Saudi Economic and Development Company; Zakat
Committee; Red Crescent Saudi Committee; Blessed Relief Foundation: Abdulkarim
Khaled Uusuf Abdulla; Abdulrahman Bin Khalid Bin Mahfouz; Al-Birr; Hisham: Hezb-
e-Islami; Saif Al Islam Ll Masry; Syed Suleman Ahmer; Mazin M.H. Bahareth: Shahir
Abdulraoof Batterjee; Zahir 11. Kazemi; Muzaflar Khan; Soliman J. Khudcira; Jamal
Nyrabeh, Ahmad Ajaj; Success Foundation; Abdulrahman Alamoudi; American Muslim
loundation; Mohammed Omeish; Adnan Basha; Mahmoud Jaballah: Arafat El-Ashi;
Moro islamic Liberation Front; Jamal Ahmed Mohammed: Mohammed Khatib: Saudi
Joint Relief Committee; Taibah International Aid Association: Islamic African Relief
Agency, Tarik Hamdi; Fazeh Ahed; Sanabil Al-Khair; Sana-Bell, Inc.; Sanabel Al-K heer,
Inc., Khaled Nouri; Abdullah M. Al-Mahdi; Tareq M. Al-Swaidan: Abdul Al-Moslah:
Salah Badahdh: Hassan A.A. Bahfzallah; M. Yaqub Mirza; Ihab Ali; Samir Salah;
tbrahim [assabella; [lisham Al-lalib; Abu Sulayman, Ahmed Totonji; Iqbal Yunus; M.
Omar Ashraf; Mohammed Jaghlit; Muhammad Ashraf: Sherif Sedky; African Muslim
Agency, Aradi, Inc.; Grove Corporate, Inc.; Heritage Education Trust; Mena
Corporation; Reston Investments, Inc.; Safa Trust; Sterling Charitable Gift Fund: Sterling
Management Group; York Foundation; National Development Bank; Dallah Avco Trans
Arabia Co, Lid.; Omar Al Bayoumi a/k/a Abu Imard; Masjed Al Madinah Al Munawarah

a/k/a Masjid Al Madinah Al Munawarah; Aqsa Islamic Bank; Agee] Al-Ageel; Mansouri

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Al-Kadi; Soliman H.S8. Al-Buthe: Perouz Seda Ghaty; Ahmed Ibrahim Al Najjar: Adel
Muhammad Sadiq Bin Kazem; Saudi American Bank: Abdulaziz Bin Hamad: Khalil A.
Kordi; Rashid M. Al Romaizan; Abdulaziz Bin Hamad Al Gosaibi: Saudi Cement
Company in Damman; Omar Sulaiman Al-Rajhi; Arab Cement Company; Zeinab
Mansour-Fattouh; Mohammed Chehade; Hazem Ragab; Mohammed Alchurbaji; Mustafa
Al-Kadir; Abu Al-Maid; Al Shamal Islamic Bank a/k/a Shamel Bank a/k/a Bank EI
Shamar; Sulaiman Al-Ali, Khaled Nouri; Muslim World League offices: Abdullah Bin
saleh Al-Obaid; Taha Jaber Al-Alwani; International Institute of Islamic Thought;
tbrahim S. Abdullah; Mohammed Bin Faris; Dr. Mahmoud Dakhil; Mohammed AI Faisal
Al Saud; Abdul Rahman Al Swailem; Delta Oil Company; Nimir, LLC; Arab Bank,
PLC, Dubai Islamic Bank; Nada Management Organization, SA: Ary Group; Islamic
Cultural Center of Geneva; Hani Ramadan; The Committee for the Defense of Legitimate
Rights; Proyectos Y Promociones Iso; Afamia, SL; Cobis; Abrash Company;
Promociones Y Construcciones ‘letuan Pricote, §.A.; Contratas Gioma; Eurocovia Obras,
S.A.; Proyectos Y Promociones Pardise, $.L.; Proyectos Edispan; Ghasoub Al Abrash;
Mustaf Ahmed Al-Hisawi a/k/a Sheik Saeed; Imad Eddin Barakat Yarkas a/k/a Abu
Dahdah; Muhammed Galeb Kalaje Zuoyadi a/k/a Abu Talha; Bassam Dalati Satut;
Abdalrahman Alarnout Abu Aljer a/k/a Abu obed: Mohammed Khair Al Sayya a/k/a Abu
A] Darda; Ghasoub Al Abrash Ghalyoun a/k/a Abu Musab; Mohammed Ali Sayed
Mushayt,; Mohammed Hussein Al-Amoudi; Abu Qatada Al-Vilistini a/k/a Abu Ismail
a/k/a Abu Umar a/k/a Abu Omar Omar a/k/a Abu Umar Takfiri a/k/a Abu Umar umar
a/k/a Ali-Samman Uthman a/k/a Omar Mahmoud Uthman a/k/a Umar Uthman; Yassir
Al-Sirrt a/k/a Ammar, Mohammed Al Massari: Lujain Al-Iman; Ziyad Khaleel; Ibrahim

Bah; Abu Zubaydah; Mamdouh Mahmud Salim a/k/a Abu Hajer Al Iraqi: Sheikh

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Abdullah Azzam a/k/a Abu Muhammed: Abdullah Samil Bahmadan; Essam Al Ridi:
Omar Abu Omar; Mohammed Ali Hasan Al Moayad: Al Farooq Mosque: Yousef Jameel:
[brahim Muhammed Afandi; Mohammed Bin Abdullah Al-Jomaith: Abdulrahman
Hassan Sharbatly; Salahuddin Abduljawad; Ahmed Zaki Yamani: Ahmad Al Harbi:
Mohammed Al-Issai; Hamad Hussaini; Abu Rida Al Suri a/k/a Mohammed Loay
Bayazid; Saudi Red Crescent; Ahmed Brahim; Abu Musab Al-Zarqawi; Abu Ibrahim Al-
Masri; Dar Al Maal Al [staini Trust; DMI Administrative Services, S.A.; Islamic
Assembly of North America; Salman Al-Ouda; Safar Al-Hawali; Sateh Al-Hussayen;
Sami Omar Al-Hussayen; Muhammed J. Fakihi; Queen City Cigarettes and Candy; Agus
Budiman: Al-Baraka Bankcorp, Inc; Ahmed Ressam; Said Bahaji; Zakariya Essabar,
have aided and abetted, conspired with, and provided material support and resources to,
defendant al Qaida and/or affiliated FTOs, associations, organizations or persons, as
described herein.

II. JURISDICTION

67, The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331
(federal question), 28 U.S.C. § 1332{a)(2) (diversity), and 28 U.S.C. § 1350 (Alien Tort
Claims Act).

68. The jurisdiction of this Court over defendants Iran, Irag, Sudan, Syria and
Saudi Arabia ts invoked pursuant to 28 U.S.C. § 1330, as the claims against those
defendants fall within the exceptions to immunity set forth at 28 U.S.C. §§ 1605(a}(2),
1605{a)(5) and 1605(a)(7) (Foreign Sovereign Immunities Act).

69, Venue in this district ts proper pursuant to § 408(b)(3) of the Air
Transportation Safety and System Stabilization Act, 49 U.S.C. § 40101, and 28 U.S.C.

$§ 1391(b})2) and 1391 (N(1).

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I. FACTUAL BACKGROUND

70. On September 11, 2001, nineteen (19) members of the al Qaida terrorist
network hijacked four (4) commercial airliners, and used those planes as weapons ina
coordinated terrorist attack on the World Trade Center Complex in New York and the
Pentagon in Arlington, Virginia (the “September 11"" Attack”).

71, The September 11" Attack resulted in the tragic loss of several thousand
lives, personal injuries to countless other persons, and property damage on a catastrophic
scale, including the complete destruction of the World Trade Center Complex.

72. The September 11"" Attack was a dived, intended and foreseeable product
ofa larger conspiracy among the defendants, to commit acts of international terrorism
against the United States, its nationals and allies.

73. The conspiracy among the defendants 19 commit acts of international
terrorism against the United States. its nationals and allies, included the provision of
material support and resources to defendant al Qaida and affiliated foreign states, FTOs,
persons, organizations, commercial entities and other parties, as discussed herein.

74, Absent the material support and resources provided by the co-defendants,
both directly and indirectly, al Qaida would not have possessed the financial resources,
physical assets, membership base, technological knowledge, communication skills, and

global reach required to conceive, plan and execute the September 11"" Attack.

ORIGINS OF AL QAIDA
75, The al Qaida movement has its origins in the “holy war” against the Soviet
occupation of Afghanistan. During the 1980s, mujihadeen fighters from throughout the
Muslim world came to Afghanistan to fight the Soviet Ked Army and defend Afghani
Muslims. From the early stages of the conflict, Osama bin Laden provided financial,

organizational, and engineering aid to the mujihadeen in Afghanistan, at the behest of the

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Kingdom of Saudi Arabia. Together with Abdullah Azzam, bin Laden founded an
organization known as the Makhtab al Khidmat (“The Office of Services”), to facilitate
the provision of financial and logistical support to the mujihadeen,

76, Throughout the conflict with the Soviet Red Army, the Makhtab al
Khidmat worked closely with a number of purported charities and relief organizations lo
provide travel documents. funds, transportation, training, facilities, arms, physical assets
and other lugistical support to the mujihadeen. In collaboration with one another, these
ostensible charities and relief organizations established a vast financial and logistical
infrastructure to support the mujihadeen opposition to the Soviet occupation of
Afghanistan. The ostensible charities that operated within that infrastructure included the
Muslim World League, International Islamic Relief Organization, Benevolence
International Foundation a/k/a Lajnat al-Birr al-Islamiyya, and the Saudi Red Crescent,
among others.

77, Shortly before the Soviet Army withdrew from Afghanistan in 1989,
Osama bin Laden became determined to spread the jihadist movement to regions outside
of Afghanistan, and to wage war with the United States of America, which he believed to
be the true enemy of Islam. In furtherance of that objective, bin Laden established
al Qaida. At the time of its establishment, al Qaida had vuly fifteen (15) members. Over
the course of the next thirteen- (13) years, al Qaida grew to include several thousand
members, associates, and supporters, with operational and logistical cells in every corner
of the globe. By September 1], 2001, al Qaida also served as an umbrella organization
for other like minded terrorist groups, through which it frequently conducted terrorist

attacks.

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78. Using the system developed to support the mujihadeen fighters in
Afghanistan as a model, al Qaida relied, from its inception, on a complex infrastructure
of ostensible charities, relief organizations, mosques, banks, financial institutions,
wealthy sponsors, and for-profit enterprises to fuel its phenomenal development and
global expansion. This international support infrastructure sustained al Qaida when it
moved from Afghanistan to the Sudan in 1991, and when it was forced to relocate back to
Afghanisian in 1996, Absent this international support infrastructure, al Qaida would
have remained a regional extremist organization, without the capacity to conduct acts of

international terrorism.

GENERAL ALLEGATIONS COMMON TO ALL CHARITY DEFENDANTS
79, Ostensible charitable organizations, and in particular, Islamic charities

under the control of the Kingdom of Saudi Arabia, have played a singularly important
role in al Qaida’s development and pursuit of its perverse ambitions. ‘hese “charities”
have served as the primary vehicle for raising, laundering and distributing funds on
behalf of al Qaida from its inception. In addition, these charities have provided arms,
false travel documentation, physical assets and logistical support to al Qaida. In many
cases, senior members of the al Qaida movement have served as senior representatives of
the charities, and used their employment status with the charities to shield their direct
involvement in planning, coordinating, organizing, funding and conducting acts of
international terrorism. Facilities of the charities, including the branch offices, have
served as safe houses for al Qaida operatives, and bases for planning and launching
operations. These charities are fully integrated components of al Qaida’s organizational
structure, and are actively involved at every level of al Qaida’s operations, from

recruitment and training of new members, to the planning and conduct of terrorist attacks.

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80.

In describing the integral role of charitable organizations in al Qaida’s

global operations, the United Nations Security Council Committee concerning al Qaida

and the Taliban recently stated:

81.

From its inception, al-Qaida has relied heavily on charities
and donations from its sympathizers to finance its
activities. Charities provide al-Qaida with a very useful
international channel for soliciting, collecting, transferring
and distributing the funds it needs for indoctrination,
recruitment, training, and logistical and operational
support. These funds are often merged with and hidden
among funds used for other legitimate humanitarian or
social programs. Al-Qaida supporters and financiers have
also established front charity networks whose main purpose
is to raise and deliver funds to al-Qaida. The roots of these
charity networks stem from the anti-Soviet Jihad in
Afghanistan during the last 1980s. During that time, al-
Qaida could draw on a number of state-assisted charities
and other deep pocket donors that supported the anti-Soviet
cause.

Today, al-Qaida continues to rely heavily on those charities
to facilitate and mask the collection and movement of its
funds.

The longstanding involvement of purported charities in the sponsorship of

Islamic (errorist organizations is further evidenced by a recently declassified 1996 Report

of the Central Intelligence Agency. In that report, the author states as follows:

82,

Of the 250 local and foreign-based non-governmental
charitable organizations (NGOs) that operate worldwide,
over 50 are international Islamic NGOs conducting
humanitarian work. Available information indicates that
approximately 1/3 of the Islamic NGOs support terrorist
groups or employ individuals who are expected of having
terrorist connections.

International investigations since September 11, 2001 have further

exposed the pervasive involvement of purported charitable organizations in the al Qaida

movement. As a result of those investigations, the United Sates Government has

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designated the following purported charities as sponsors and supporters of al Qaida or an
affiliated FTO under the Executive Order 13224 designation program: al Haramain
Foundation, Benevolence International Foundation. Blessed Relief (Muwafaq)
Foundation, Holy Land Foundation for Relief and Development, Global Relief
foundation, al Rashid Trust, WAFA Humanitarian Organization and Revival of Islamic
Heritage Society, Investigations regarding the terrorist activities of a number of
additional ostensible charities, including the Muslim World League, World Assembly of
Muslim Youth and International Islamic Relief Organization, are continuing.

83. Absent the pervasive and critical infrastructure and support provided by
the charity defendants, as further described herein, al Qaida would have forever remained
a regional extremist organization, without the capacity to conduct large scale terrorist

attacks ona global scale.

BENEVOLENCE INTERNATIONAL FOUNDATION

84. Defendant Benevolence International Foundation (BIF) is an ostensible
charity, with offices located throughout the World. BIF is the successor in interest to
Lajnat al Biarr al Islamiyya, which was established by defendant Adel Batterjee in 1987
in Pakistan. BIF is a subsidiary body of the Muslim World League. and has frequently
shared common officers and directors with that organization.

85. BIF is an agency, instrumentality and organ of the Kingdom of Sandi
Arabia. The Kingdom controls and directs BIF operations, appoints and terminates BIF
personnel, provides BIF with virtually all of its funding, determines how funds will be
distributed throughout the World, and otherwise stringently controls BIF’s operations. In
many countries, BIF conducts operations from the local Saudi embassy, under the

supervision of the embassy’s Islamic Affairs Division.

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86. BIF has long acted as a fully integrated component of al Qaida’s logistical
and financial support infrastructure, and provided material support and resources to al

Qaida and affiliated FTOs.

87. On November 19, 2002, the United States government designated BIF,
and several related entities, as financiers of terrorism pursuant to Executive Order 13224.

The Treasury Department press release relating to the designation stated as follows:

Benevolence International Foundation (“BIF”) is a US tax-
exempt not-(or-profil organization whose stated purpose is
to conduct humanitarian relief projects through the World.
BIF was incorporated in the State of Ulinois on March 30,
1992. Although BIF is incorporated in the United States, it
operates around the World, in Bosnia, Chechnya, Pakistan,
China, Ingushetia, Russia. and other nations. BIF operates
as Benevolence International Fund in Canada and as both
Bosanska Idealna Futura in Bosnia.

Enaam Arnaout, BII'’s chief executive officer and a
member of the Board of Directors. recently was indicted in
the United States for operating BIF as a racketeering
enterprise and providing material support to organizations,
including al Qaida that are engaged in violent activities.

Substantial evidence documents the close relationship
between Arnaout and Usama bin Laden, dated from the
mid-1980s. An article iu the Arab News from 1998,
reporting on bin Laden’s activities at the “al Masada”
mujahideen camp in Afghanistan, included a photograph of
Arnaout and bin Laden walking together. In a March 2002
search of BIF’s offices, Bosnia law enforcement authorities
discovered a host of evidence linking Armaout to bin Laden
and al Qaida. Among the files were scanned letters
between Arnaout and bin Laden, under their aliases.

Tn one handwritten letter, bin Laden indicates that Arnaout
is authorized to sign on bin Laden’s behalf,

Various documents alsa establish that Arnaout worked with
others — including members of al Qaida — to purchase
rockets, mortars, rifles, and offensive and defensive bombs,
and to distribute them ta various mujahideen camps,
including camps operated by al Qaida.

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Arnaout claimed to the Chicago Tribune last winter that he
did not know bin Laden personally, that he had never been
to the “al Masada” camp (at which he had been
photographed walking with bin Laden), and that he was
working in a restaurant in the Persian Gulf area during the
relevant time frame. BIF’s counsel later acknowledged in
court that “it would appear that the nature of [Arnaout]
contacts [with bin Laden] may have been of a deeper nature
than what he described to the Tribune.

BIF has also provided additional support for and has been
linked in other ways to al Qaida and its operatives. First,
GIF lent dircet logistical support in 1998 to Mamdouh
Mahmud Salim, a bin Laden lieutenant present at the
founding of al Qaida. Salim was indicted for conspiring to
kill U.S. nationals. Testimony at the 2001 trial of United
States v. bin Laden, et al., implicated Salim in efforts to
develop chemical weapons on behalf of al Qaida in the
1990s, As carly as 1992, Salim and bin Laden made efforts
to develop conventional weapons and to obtain nuclear
weapons components. BIF is also linked to Mohamed
Loay Bayazid, who was implicated in the US embassy
bombing trial for his efforts, approved by Salim, to obtain
weapons components on behalf of bin Laden in 1993 —
1994, Bayazid’s driver’s license application. dated
September 12, 1994, identifies his address as the address of
BIF’s IHlinois office. In the late 1990s, Saif al Islam cl
Masry, a member of al Qaida’s Maglis al Shura
(consultation counsel}, served as an officer in BIF’s
Chechnya office.

88. On January 6, 2003, federal prosecutors filed a Santiago profier in the
criminal prosecution of Enaam Arnaout referenced above. The evidentiary proffer,
which 1s incorporated herein by reference. details at length the pervasive involvement of
BIF, and of its executives and employees, in sponsoring al Qaida’s global operations,
describing the provision of material support and sponsorship to al Qaida as BIF‘s “core
mission,”

89. As set forth in greater detail in the Santiago proffer, BIF materially
supported al Qaida and al Qaida affiliated militants in Afghanistan, Sudan, Bosnia-

Herzegovina, Chechnya and other areas. For a period of more than 15 years, BIF

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representatives used the cover of their employment with BIF to shield their direct
involvement in providing material support to Osama bin Laden, al Qaida. Gulbuddin
Hekmatyar and Hezb e Islami. The support provided by BIF included purchasing large
quantities of weapons, operating radio communications, providing physical assets and
false travel documents to al Qaida fighters, and sponsoring al Qaida camps throughout
the World.

90. BIF worked closely with several other purported charities, including the
World Assembly of Muslim Youth, Muslim World League, International Islamic Relief
Organization, and Al Haramain Foundation, in connection with its efforts 10 sponsor al
Oaida’s activities.

91. Founding members of al Qaida, including Enaam Arnaut, Wa’el Julaidan.
Abu Rida al Suri (Mohammed Loay Bayazid), and Abu Hajer al Iraqi (Mandouh Salim),
have served as officials of BIF.

92, In 1990, while Enaam Armaout was ostensibly working for BIF, he
participated with other al Qaida members in the purchase of weapons for al Qaida,
including AK assault rifles and mortar rounds. ‘hese weapons were ultimately delivered
to al Qaida camps within Afghanistan, under Enaam Arnaout’s supervision.

93. In 1991, Osama bin Laden decided to relocate al Qaida’s leadership
structure and principal training camps to the Sudan, under the protection of the ruling
National Istamic Front regime. Al Qaida remained in Sudan for a period of five (5)
years, during which it worked closely with the National Islamic Front, the Sudanese
Intelligence Service, and the Popular Defense Force.

94, When the al Qaida leadership structure relocated to Sudan in 1991, BIF

immediately opened an office in the Sudan, to support al Qaida in its new location. BIE’s

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sponsorship of al Qaida in the Sudan mirrored how it had worked with al Qaida in
Afghanistan prior to 1991.

95. In 1992 the al Qaida leadership, including Osama bin Laden, made a
strategic decision to become deeply involved in the ongoing ethnic conflict in the Balkan
region, in order to establish relationships and a base of operations to support future al
Qaida attacks in Europe. Towards that objective, al Qaida sent ils mujihadeen fighters to
Bosnia, to train and fight alongside members of the Bosnian Muslim Army.

96. From the outset, BIF played a pivotal role in al Qaida’s efforts to establish
operations in Bosnia. BIF provided food, clothing, money and communications’
equipment to al Qaida affiliated fighters in Rosnia. BIF facilitated the movement of
hundreds of al Qaida mujihadeen fighters into the region, by falsely representing to
authorities that those terrorists would be working as BIF relief workers.

97, Within the Muslim world, BU’ made little effort to conceal its support for
al Qaida’s operations in Bosnia. In its Arabic language fundraising appeals, BIF
advertised itsetfas a “trustworthy hand for the support of [both| the Mujahideen and
refugees” in Bosnia. Similarly, documents recovered during a federal raid of BIF’s
Ilinois office in December 2001 included handwritten Arabic notations explaining that
its headquarters in Croatia was established “for relief operations in support of Jihad in
Bosnia/Herzegovina...contribute with your Mujahideen brothers to repel the
Crusader/Zionist attack on Muslim lands.”

98. The federal raid of BIF’s Illinois office uncovered the following additional
documents confirming the scope and extent of BIF’s sponsorship of al Qaida’s efforts in
Bosnia: a receipt dated July 21, 1994, trom the “Black Swans” Bosnian Muslim

commando brigade for 300 blankets and 200 pairs of boots obtained from BIF; a receipt

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from the Bil] Army dated June 3, 1994, for 2000 uniforms, 2000 pairs of shoes, and 10
“mass communication stations” donated by BIF to “this military unit:” a request dated
December 31, 1994, from the Bosnian military for a combat ambulance, later delivered as
promised in January 1995; and, a memorandum to BIF director Enaam Arnaout, dated
November 17, 1995 describing the recent contribution of 200 tents to the Muslim army.

99. In March 2002, Bosnian police raided BIF’s Sarajevo offices. During the
raid, investigators recovered extensive ducumentaltion relating 10 al Qaida’s operations
from BIF"s computer system, including internal al Qaida documents detailing the
contributions of various individuals and purported charitics to the terrorist organization’s
development and expansion Ag is discussed in greater detail in the U.S. government’s
Santiago proffer in the Armaout prosecution, the computer system housed a file labeled
“Tareekh Osama” (“Osama’s Llistory”), containing scanned images of documents
chronicling the formation of al Qaida. BIF also maintained scanned documents in a
voluminous “Tareckh al Musadat” file, detailing the history of al Qaida’s Al Masada
aining camp, as well as an “AI Jabal” file containing daily reports of activities at the Al
Jabal camp, operated by the al Qaida affiliated Ilizb e Islami.

100. The documents contained within the aforementioned files confirm the long
term and global participation of BIF, MWL., Rabita Trust, and other purported charitics in
al Qaida’s support infrastructure.

101. Within the Tareekh Osama file, investigators also uncovered a document
called the “Golden Chain.” According to officials of the U.S. government, this document
is “a list of people referred to within al Qaida” as wealthy donors to the al Qaida
movement. Among the individuals identified in the Golden Chain as al Qatda’s principal

sponsors are defendants Suleiman al-Rashid, Abdulkader al Bakri a/k/a Abdel Qader

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Bakri, Bakr Bin Laden, Youseff Jameel, Ibrahim Muhammad A fandi, Saleh Abdullah
Kamel, Suleiman Abdulaziz al Rajhi, Mohammad bin Abdullah al-Jomaih, Abulrahman
Hassan Sharbalty, Ahmed Mohamed Naghi, Khalid Bin Mahfouz Adel Faqih a.k.a Abdel
Qader Fageeh, Salahuddin Abduljawad a/k/a Salah al-Din Abdel Jawad, Ahmad Turki
Yamani a/k/a Ahmed Zaki Yamani. Abdul Hadi Taher, Ahmad al Harbi Mohammed al-
Issai, Hamad al Hussaini, Mohamed Omar and al Kuwait.

102. In conjunction with the March raid of BIF’s regional headquarters in
Sarajevo, Bosnian police detained its manager, Munib Zahiragic, a former intelligence
officer affihated with the Bosnian Foreign Ministry. Zahiragic turned over secret
documents regarding al Qaida activities in Bosnia, including transcripts of
communications between BIF management and senior commanders of al Qaida based in
Afghanistan. The Bosnian officials also discovered firearms, ski masks. numerous
military manuals on topics including small arms and explosives, fraudulent passport
materials, and photographs of Osama bin Laden during the raid.

103. Bil played an equally important role in the infrastructure supporting al
Qaida’s activities in Chechnya. Recognizing that the best way to transfer supplies into
Chechnya was through Azerbaijan, BIF established a branch office in Baku, Azerbaijan
to serve as a conduit for military supplics to al Qaida militants in Chechnya. Al Quida
lieutenant Saif ul Islam al Masri (a/k/a Abu Islam al Masri) served as BIF’s charge
d'affaires in the Chechen capital of Grazni, at the end of the supply chain. Saif ul Islam
was a member of al Qaida’s military committee and had graduated from an expert
training course in explosives conducted by the Iranian backed Hezbollah terrorist group
in Southern Lebanon. Saif also trained Somali Muslim militiamen te shoot down U.S.

helicopters during the United Nations’ humanitarian mission in the Horn of Africa in the

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